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          of the Committee on Banking, Finance, and Urban Affairs, House of Representatives,
          Ninety-eighth Congress, second session. Washington, U.S. G.P.O.
                                                    .




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          Committee on Banking, Finance, and Urban Affairs, House of Representatives,
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                           [COMMITTEE PRINT 98-17]




             THE ROLE AND ACTJvITIES OF THE
             FEDERAL RESERVE SYSTEM IN THE
             NATION'S           CHECK         CLEARING AND
                          PAYMENTS SYSTEM




                                     REPORT OF


            THE SUBCOMMITTEE ON DOMESTIC
                          MONETARY POLICY
                                       OF THE


                                COMMITTEE ON
            BANKING, FINANCE AND URBAN AFFAIRS

                    HOUSE OF REPRESENTATIVES
                         98th Congress, Second Session




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                                 NOVEMBER 1984




             Printed for the use of the Committee on Banking, Finance and
                                    Urban Affairs



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        Urban Affairs and may not necessarily reflect the views of its members.

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                                             WASHINGTON. D.C. 20515



                                             November      21,   1984




          rO:   Members of   the Committee on Banking,           Finance and Urban Affairs




               A report of the Subcommittee on Domestic Monetary Policy
         entitled "The Role and Activities of the Federal Reserve System
         in the Nation's Check Clearing and Payments System" is submitted
         for your consideration.



                                                            Sincerely,




                                                            Fernand J.      St Germain
                                                            Chairman


                                                         (111)
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                                 U.S. HOUSE OF REPRESENTATIVES
                                 SUBCOMMITTEE ON DOMESTIC MONETARY POUCY

                             COMMITTEE ON BANKING. CHANCE AND URBAN AFFAIRS
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                                        WASHINGTON. D.C.   20515


                                           November 19, 1984




         The Honorable Fernand J. St Germain
         Chairman
         Committee on Banking, Finance and Urban
           Affairs
         2129 Rayburn House Office Building
         Washington, D. C.  20515

         My dear Mr. Chairman:

                 I am pleased to transmit herewith a report on the role and activities
         of the Federal Reserve System in the nation's check clearing and payments
         system. The Subcommittee on Domestic Monetary Policy, in conjunction
         with the Subcommittee on Commerce, Consumer and Monetary Affairs of the
         Committee on Government Operations held two days of hearings in the
         summer of 1983 on the role and activities of the Federal Reserve in the
         payment system following enactment of the Monetary Control Act. That
         investigation produced more than 1300 pages of testimony and supplementary
         materials upon which this report has been based.

                 Specifically, the report states that there continues to be a
         compelling need for the Federal Reserve to continue its central role in
         the payments system to assure universal accessibility, efficiency and
         security and that the Federal Reserve has complied with the directives
         of the Monetary Control Act in competition with the private correspondent
         banks as intended by the overall thrust of the Act. Additionally, the
         report concludes that Federal Reserve actions, mandated by the Monetary
         Control Act, should not be used as a basis for delays in funds availability
         or increases in checking account fees. Finally, the report concludes
         that the Federal Reserve should examine its role in the future payments
         system of electronic transfers and consider such steps as providing a
         linkage between local automated-teller-machine networks, processing
         credit/debit cards, and developing a means for non-financial institutions
         to access the payments system directly without reliance upon conventional
         financial intermediaries. On each of these matters, the Federal Reserve
         has been directed to report to the Subcommittee.

                The Report has been circulated to members of the Subcommittee who
         were invited to submit any concurring, additional, supplemental or
         dissenting views for inclusion in the Report that they might have.

                Finally, I want to express my deep and sincere appreciation to
         all who contributed to this Report. Most importantly, I want to express
         my appreciation to my friend and colleague, the Chairman of the Subconsnittee
         on Commerce, Consumer and Monetary Affairs, Congressman Doug Barnard,
         Jr., for his efforts and willing participat ion in this inquiry.

                                                   Sincerely yours



                                                   G               Z-
                                                   Walter E. Fauntrsy
                                                   Subcommittee Chairman
                                                                                    N
                                                             (V)
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                                     EXECUTIVE s.MMARY




           The Monetary Control Act of 1980 (MCA)        fundamentally altered the

      nation's   payments   system   --   the network of services     such as the

      clearing of checks, the provision of coin and currency to financial

      institutions,     the wire transfers of funds,      the Automated Clearing

      House, etc.,   that undergird all the transactions in our economy by

      assuring the 'smooth and rapid transfer of funds from a buyer's bank

      account to the seller's account.       Refore the MCA,   the payments system

      was segmented     into two distinct and separate areas.         The Federal

      Reserve provided payments services without charge to banks         that were

      members of the Federal Reserve System, handled most check clearing and

      funds transfers between banks in different parts of the country, and

      assured the basic security and trustworthiness of the payments system.

      Supplementing Federal Reserve's payment services were the private

      payments   services provided by       correspondent banks to non-member

      financial institutions for a fee or by local clearinghouses, which

      took care of most of the local check-clearing,         the clearing n,1s of

      non-member financial institutions, and the special high-priority check

      clearing that in total represented about 60% of the dollar volume of

      checks written.

           The Monetary Control Act changed this system in three ways.

      First,   it directed the Federal Reserve to impose explicit charges for

      payment services traditionally provided without charge to uBnter banks.

      It further specified that these services should be made available to

      all depository institutions and not just to member banks.       Finally, the

      Federal Reserve was directed to recover over the long run through these

      charges both the direct costs of providing the services and the imputed

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                                                     VIII



            tax and capital costs a private company would have to bear.                   These

            legislative changes and the actions taken by the Federal Reserve to

            implement than broke down the division within the payments system,                 and

            placed     the   Federal     Reserve   in direct      competition   with    private

           correspondent banks for the provision of payments services to other

            financial institutions.          This changed the relative positions of the

           Federal Reserve and private correspondent banks in the provision of

           payments services, generated controversies about whether the Federal

           Reserve had been competing fairly,               and raised questions about the

           appropriate role for the Federal Reserve in that system.

                   The Subcommittee on Domestic Monetary Policy investigated these

           controversies and questions in joint hearings with the Subcommittee on

           Commerce,     Consumer and Monetary Affairs of the Committee on Government

           Operations        in    the sznmer of   1903,    and   in   subsequent   reviews    of

            information and documents submitted in response to its enquiries.                 This

            Report summarizes the results of these investigations.              It reviews the

           background to the Monetary Control Act,                its effects on the payments

            system, the Federal Reserve's implementation of the Act, and the issues

            and controversies that have arisen as a result.                It then reports its

            findings on four sets of issues: the general question of whether the

           Federal Reserve should continue to play a central role in the nation's

            payments system;        specific questions as to whether the Federal Reserve

            in   its   implementation of the Act has complied with its directives and

           has     competed       fairly with   private     correspondent    banks;    consumer

           questions concerning the potential                impacts of the changes in the

           payments system on the availability of deposited funds and                  increased

            fees    for checking       accounts;   and prospective questions          about   the
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        appropriate role of the Federal Reserve in the future as the payments

        system shifts from paper checks to electronic funds transfers.

             The findings of the Subcommittee are as follows.                        First,    the

        Subcmmnittee concludes that there continues to be a compelling need for

        a public institution to play a central               role in the payments system to

        assure its universal accessibility,              efficiency, and security,       and that

        this institution should be the Federal Reserve as new structured, not a

        separate public corporation containing the Federal Reserve's payments-

        service activities.             Second,     the Subcommittee concludes that the

        Federal Reserve has complied with the directives of the Monetary

        Control Act, that it has generally competed fairly with the private

        correspondent        banks     in   the   pricing    of   its   services   and    in   its

        activities,    and      that   in the few instances where legitimate questions

        can be raised about its actions,            the Federal Reserve has already taken

        corrective     steps.          Third,     the   Subcommittee     concludes    that     the

        improvements in the efficiency of the payments system and the more

        competitive prices and availability of payments services do not justify

        many of the delays in funds availability and increases in checking

        account fees that banks and financial                institutions have imposed on

        their customers.         Finally, the Subcommittee concludes that the Federal

       Reserve in order to maintain the soundness, efficiency, and security of

       the nation's payments should explore opportunities                     for playing a

       central role in the future payments system of electronic transfers, and

       should consider          such steps as providing a linkage between local

       automated-teller-machine networks, processing credit and debit card

       payments, and developing a means for non-financial institutions to

       access the payments system directly without a financial                intermediary.




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                   THE ROLE AND ACTIVITIES OF THE FEDERAL RESERVE SYSTEM
                    IN THE NATION'S (}!ECK CLEARING AND PA'4TS SYSTEM


                                          INTRODFION




            of all the powers held        },j   and used by financial institutions,   the

       right to offer transaction accounts most distinguishes a depository

       institution from other types of financial           institutions.   Concomitant

       with this authority is the institution's access to a payments mechanism

       linking it with other financial institutions in order to complete the

       transfer of the financial asset identified in the check or payment

       document.     The coirinitnent of the Federal Reserve System, as well as of

       private commercial banks,          to a widespread and accessible payments

       system is one reason checks are so widely used and accepted for the

       Luluercial needs of the public.

            The issues inherent in understanding the payments system,           and the

       role which the Federal Reserve as this nation's central bank performs

       in that process, go to the heart of the organizational structure of

       this nation's financial system and how various kinds of risks are

       managed.      The   ability   of    all     depository   institutions   to   issue

       transaction accounts also raises issues which far transcend the readily

       apparent questions of whether particular institutions, including the

       Federal Reserve, possess special advantages, exercise monopolistic

       powers, or underprice their services through the use of inappropriate

       subsidies.

            Transaction accounts represent assets of a person that can be                   -




       transferred to another person or another institution at any time and

       upon demand.     The presence of a transaction account in a depository

       institution directly affects the maturity of assets and liabilities and


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          -   thus the type of business that a depository institution is willing to

              undertake.       Indeed,   the asset side of the balance sheet                  for some

              institutions provides only a snail margin of functional                   liquidity to

              meet large and sudden deposit outflows.             Consequently,    the role which a

              central bank and other          large clearing organizations must play to

              maintain    confidence     in   the   safety and       soundness     of   the   nation's

              financial system cannot be ignored.

                     The Subcommittee on Domestic Monetary Policy has investigated the

              role of the Federal Reserve in check clearing and other services of the

              nation's payment system foll owing enactment of the Monetary Control Act

              of 1980,   which mandated equal access by all depository institutions to

              the payments system of the Federal Reserve and the explicit pricing and

              charging of institutions for these services.                 This inquiry has been

              conducted with the view of assuring that public confidence in the

              transfer    of   assets    by   use   of   a transaction      account      is    readily

              facilitated, easy,     safe, and unquestioned.

                     Until 1980, the Federal Reserve had, among other duties, a mandate

              to provide a uniform central clearing               system for all manber-banks       in

              the nation that wanted to use it without regard to the costs such a

              process entailed.      Such a role had been given the Federal Reserve by

              the Federal Reserve Act of 1913,           to foster effective cooperation among

              banks outside of clearinghouse cities,              to assure the clearance at

              par of checks drawn on banks that became mashers of the Federal Reserve

              System, and to avoid the inefficient routing of checks that resulted

              from    nonpar    clearance.          Prior    to    the   Federal    Reserve      Act,

              clearinghouses could and did refuse to accept, at par or otherwise,

              checks drawn on a particular bank              if there was    even the         faintest




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        possibility         that a bank had problems.              Such an    act by   a local

        clearinghouse would likely result in the failure of that bank because

        any runor that clearing privileges were withdrawn wauld almost surely

        cause a run on the bank.               Indeed, the Federal Reserve was created in

        1913 partly in response to the breakdown in the nation's payments

        irechanisn during the Panic of 1907.

               Under the Federal Reserve Act before the passage of the Monetary

        Control Act in 1980,             the Federal Reserve provided services under the

        provisions of Section 13 and Section 16 of the Federal Reserve Act only

        to member banks.              From 1918 to 1980,    these services were provided

        without requiring an additional payment.                  Commercial banks which were

        not members of the Federal Reserve System could obtain access to the

        Federal Reserve's payment system through arrangements with a clearing

        bank   that       was       a member   of the   Federal    Reserve.      Usually,   such

        arrangements were on a fee.-for-service, compensating balance, or loan-

        participation basis.             The earnings on the Federal Reserve's relatively

        high level of reserves required to be held by member banks adequately

        corrpensated the Federal Reserve for the services rendered, although the

        amount of service provided was never set in relation to the aiount of

        reserves held by a single bank.

               The enactment in 1980 of the Monetary Control Act did not nullify

        any of the reasons why the Congress created the Federal Reserve System,

        including the need for a secure, efficient,                   and national payments

        system under the aegis of the Federal Reserve.                 Indeed,   passage of the

        Monetary Control Act was a re-affirmation of the role which the Federal

        Reserve as this nation's central bank played in assuring that basic

        payment system services would be available to the whole country.                     The

        key change was that the Federal Reserve was to recover the cost of


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            providing   such    services    through explicit fees.      The Monetary Control

            Act    required     recovery of direct         expenses     and,    almost   as   an

            afterthought,      the   implicit costs of taxes and capital        that a private

            business would have.       This encouraged private correspondent banks to

            compete with the Federal Reserve in an effort to achieve greater

            efficiencies in the pa yments systsm.

                   The Monetary       ntrol Act thus created two goals:        reaffirmation of

            a major Federal       Reserve Syst em role in the payments mechanism; and

            price competition between the Federal Reserve and private clearing

            banks in the provision of pant services.              How these two goals have

            been    reconciled       and   how   they   should   be   reconciled   --   whether

            preservation of a Federal Reserve role or achievement of an ideally

            competitive payments system should take priority              --    is the central

            issue addressed in this report.




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                                      REASON FOR THE REPORT


            Daring the course of examining the conduct of monetary policy and

       the role which depository institutions perform as a conduit for the

       actions and policies of the central bank, a number of issues were

        raised by correspondent banks engaged in check clearing activities.

       One issue was whether the Federal Reserve had fully compl ied with the

       provisions of the Monetary Control Act requiring        it to recover costs

       and to price its services in a non-predatory manner.

            These questions arose because of two major concerns:              one, the

       Federal     Reserve has certain advantages because of              its size,

        relationships      to depository    institutions,     access to financial

       resources, and interstate jurisdiction; and, two, it is an important

        financial-institution regulator as well as the instr'nentality setting

       and carrying out monetary policy.

             In a generalized form, the concerns were:

            Whether the Federal Reserve implemented the service pricing
            provisions of the Monetary Control Act in a manner that adversely
            affected competing correspondent banks.

            Whether the Federal Reserve has sought to recover its costs in all
            priced services areas and whether it should do so immediately or
            on a longer tees (phased-in) basis.

            Whether the Federal Reserve enjoys advantages that are unavailable
            to u'.iiu1 eting correspondent banks and how it used these advantages.

            Whether the Federal Reserve has used its regulatory powers to
            benefit its own competitive position vis-a-vis competing
            correspondent banks.

             In a more specific form,      the concerns become questions which

       directly relate to special practices that are often set in a particular

       market   and    competitive   environment.    Nonetheless,       the specific

       questions      illustrate   the general   issues.    Some   of   the   specific

       questions include:


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                Whether the Private Sector Adjustment Factor, which is intended to
                equal the taxes a private competitor would have to pay and the
                return on capital it would expect to achieve, is properly
                constructed and accurately reflects the taxes and return on
                capital investment of comparable private businesses.

                Whether subsidies of Federal Reserve services during the
                transition from an unpriced era have fully ended, and whether
                there are inappropriate cross-subsidies among product lines
                (including subsidies to the autariated clearing house services).

                Whether the Federal Reserve took unfair advantage of its market
                presence, regulatory authority, and immunity from payment of
                presentment fees (which payor banks sometimes charge collecting
                banks when checks are presented for payment) when it adopted its
                pol icy of noon-presentment.

                The Subcommittee on Domestic Monetary Policy        in conjunction with

           the Subcommittee on Commerce, Consumer, and Monetary Affairs of the

           Committee on Government Operations, held two days of pub lic hearings on

           these issues on June 15 and 16, 1983.       At these hearings,   testimony was

           received     from seven witnesses       representing   the American Bankers

           Association,    the   Independent Bankers Association of America,         the

           National Payments System Coalition (a group of competing correspondent

           banks),   the U.S. Central Credit Union, the Bank of America,     the General

           Accounting Office,      and the Federal Reserve System.     The Subcommittee

           then reviewed more than 1300 pages of printed            hearing materials

           received both during and following these two days of hearings.

                The findings and recommendations of the Subcommittee are herein

           set forth.    The Subcommittee on Domestic Monetary Policy has used as

           its guiding principle the objectives of the founders of the Federal

           Reserve System and of those who have overseen the development of the

           Federal Reserve in its seventy-one year history of providing a safe and

           sound     financial   system   that   incorporates as one of its     integral

           components a secure and efficient national payments system.




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                                              PART ONE

                                             BACKGROUND


           **    The Payments System Before the Monetary Control Act of 1980         **




                The Federal Reserve System is composed of twelve district banks

        under the direction of the seven-masher Board of Governors.           The twe lve

        Federal Reserve Banks, located in twelve different geographic areas and

         supported by thirty-seven branch offices and other facilities, today

        provide a variety of services to both masher and non-member depository

         institutions.      These services include, but are not necessarily limited

        to,     the following:     provision of currency and coin, check clearing and

        collection, wire transfers, the Automated Clearing House operations,

        net settl ement,     securities safekeeping,      and non-cash item collection.

        While such services were originally available only to masher banks, the

        Monetary Control Act of 1980 directed that they be made available to

        all depository institutions as defined in the Act.

                Many of the services provided by the Federal Reserve district

        banks can be and are provided by other institutions.              Indeed, until

        passage of the Monetary Control Act, non-member banks could obtain

        these or equivalent services only from masher banks.            This effectively

        segmented the payments system into two markets:               a Federal Reserve

        check-clearing system and other services accessible to and used by

        member     banks;    and    the   private   patchwork   of   correspondent   bank

        relationships and        local clearinghouses which handled check clearings,

        collections, and other pa yment services for non-masher banks.

                Check collection has traditionally comprised the largest single

        payments activity for the Federal Reserve.              It processed 12 billion




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            checks     in 1976,      and 16 billion in 1983.         Prior to passage of the

            Monetary Control Act, checks received fras member banks by the Federal

            Reserve would be sent directly to the bank or a processing center

            designated by the bank.             The Federal Reserve would then credit the

            depositing bank with funds in accordance with an availability                  schedule

            that     reflected the time it would normally take for the Federal Reserve

            to receive pa y
                          ment from the bank upon which the check was drawn.                     If

            the Federal Reserve did not collect the check prior to passing credit,

            Federal Reserve float was generated.                In 1979, this Federal Reserve

            float averaged $6.7 billion on a daily basis.                 (It was reduced to a

            $1.2 billion daily average by the end of 1983 after improvements in the

            Systan's check processing.)

                    The Federal       Reserve also processed "non-cash"           items    such as

            matured municipal and corporate coupons,                     bonds,   and bankers'

            acceptances.       It would generally collect these items in a manner

            similar to the way in which checks are collected except that the

            depositing bank might not receive credit until the Federal Reserve

            actually received panent.

                    Wire transfers prior to the Monetary Control Act were used almost

            exclusively to transfer reserve account balances from one member bank

            to another.       In     1976,    21 million transfers worth $35.6            trillion

            occurred, compared with 62 million transfers worth $143 trillion in

            1983.    member banks typically used the wire transfer system to transfer

            Federal funds purchases and sales, correspondent bank balances, and

            customer funds.         There was no charge for fund transfers over $1,000.          A

            charge     of   $1.50    was     imposed   for   transfers   less   than   $1,000   to

            discourage the use of this network for such smaller amounts.




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              The Automated Clearing House originated in 1970 with the intent of

        using new technologies to make more efficient transfers of fixed,

        wall-dollar, recurrent payments such as salaries, wages, mortgages and

        insurance premiums.          Neither the originating nor receiving bank was

        explicitly charged by the Federal Reserve for this activity.

              The Federal         Reserve also maintained a definitive securities

        safekeeping service which,             prior to the enactment of the Monetary

       Control Act, would maintain account instructions, provide periodic

        statements,     reconcilement,         and tranfers, as well as collection of

       matured securities,         without explicit charge to member banks.

              The Federal Reserve administered a book-entry system for the sale

       and transfer of certain U.S. goverrrrent and U.S. agency securities that

       was,   prior to the Monetary Control Act,             also provided to member banks

       without explicit charge.

              The result of this segmentation was the growth of correspondent

       bank relationships and an extensive network of private clearing

       systems.    In 1979    -    1980,   sane 60% of the dollar volume of all checks

       cleared in the United States was handled directly between banks without

       Federal Reserve involvement.               Correspondent relationships, of which

       check-clearing was a part, became important sources of profits for

       major banks,      and private correspondent banks were naturally loath to

        lose any of this correspondent business when the Monetary Control Pct

       mandated equal access by all depository institutions to Federal Reserve

       services.       As long as there were two classes of banks           --   members and

       non-members of the Federal Reserve               --   a member bank could attract

       correspondent relationships with non-member institutions by giving them

       access     to   the   Federal       Reserve's   payment   system   and    thus   to all

       depository institutions in the United States.              Except for some possible



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           increases      in the reserves required to be held at the Federal Reserve,

           the marginal costs to a correspondent bank would not be substantial

           since the Federal Reserve imposed no additional charges for an increase

           in the amount of items presented for payment and collection.




                     **   Need for and Effects of the Monetary Control Act          **




                   During the 1970's, no-charge clearing services to member banks by

           the Federal Reserve became erroeshed in the problem of retaining bank

           membership in the Federal Reserve System.                 Rising    interest rates

           increased      the opportunity costs to member           banks     of holding non-

           interest-earning       reserves,    inducing      some banks     to withdraw from

           membership      in the Federal Reserve System.            The prospects of more

           withdrawals threatened the implementation of monetary policy, because a

           shrinking proportion of the banking system               would be subject to the

           fractional reserve system by which the Federal Reserve controlled money

           growth.    One factor which tended to keep banks from leaving the Federal

           Reserve System was the provision of services without explicit charge,

           which partially       offset the cost to member banks of holding non-

           interest-earning reserves.

                   Men Congress addressed the issue of monetary control in 1980,           it

           lowered reserve       requirements but     imposed them on all          depository

           institutions (including non-members).          The mount of reserves required

           to be held against demand deposits was reduced from 16% for member

           banks with more than $480 million in such deposits (lesser requirements

           applied to smaller institutions) to 12% for any depository institutions

           with more than $25 million in transactions balances and 3% for smaller

           ones.      Reserve   requirements    for   time    and   savings deposits     also



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        were lowered.           Newly covered depository institutions (including non-

        member banks) were, however, given eight years to phase in the reserve

        requirements.           In return for the posting of reserves,         non-member

        institutions were given access           to Federal   Reserve check-clearing and

        other services.

             The Congress recognized that these actions would affect Federal

        Reserve net earnings, which are paid to the Treasury: the reduction in

        reserve requirements reduced the amount of reserves held by the Federal

        Reserve upon which it earned interest; and the extension of services to

        non-members increased the volume and potentially the total costs of

        services it provided.             To offset the decline in earnings (and the

        resultant reduction            in Treasury revenues),     charges   for specific

        services were mandated,          which over time were to be based on the costs

        of these services.           It was also argued that explicit pricing of Federal

        Reserve services would increase the incentives for the private sector

        to offer similar and additional services, and the resulting caTpetition

        would increase the efficiency with which such services were provided.

             By adding new categories of institutions entitled to access to

        Federal Reserve services and mandating explicit prices to cover the

        costs of these services,          the Monetary Control Act of 1980 changed the

        relationships between masher banks, non-masher depository institutions,

        and the Federal Reserve System.          Among those granted direct access were

        non-member camnarcial banks, credit unions,           savings banks,   and savings

        and loan-associations.          That increased the potential universe served by

        the Federal Reserve from 5,400 masher banks to over 40,000 depository

        institutions. All services offered by the Federal Reserve, with the

       exception of currency and coin processing, were to be explicitly priced




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            and paid for by their users.          The costs for transportation and any

            special wrappings of currency and coin were also to be priced and paid

            for.     Finally,   Federal Reserve float was to be reduced as much as

            passible through increased speed of collection and the remainder priced

            at the Fed Funds rate.




               **    The Federal Reserve's Implementation of Explicit Pricing      **




                    On August 28,    1980,   the Federal     Reserve Board published    a

            proposed      schedule   of   fees   along   with a statement of   underlying

            principles,     which it formally adopted on December 30,          1980 after

            receiving public L-U5tTnts.      Among these principles were that:

                    Fees over the long run would be established on the basis of all
                    direct and indirect costs actually incurred in providing those
                    services.

                    Fees would also cover, through addition of a "Private Sector
                    Adjustment Factor" (PSA, iirputed costs taking into account "the
                    taxes that would have been paid and the return on capital that
                    would have been provided had the services been furnished by a
                    private business firm".

                    The Federal Reserve would accept revenue shortfalls for certain
                    service categories during the start-up period if "new operational
                    requirements and variations in volume" temporarily caused such
                    situations.

                    Service arrangements and related fee schedules would be responsive
                    to the changing need for services in particular markets.

            Fees    and   service    arrangements would be designed both to improve

            efficient utilization of Federal Reserve services and to foster long-

            run improvements     in the nation's payment system.

                    The following Federal Reserve services were covered by these

            principles:

                    Transportation of currency and coin and coin wrapping;

                    (neck-clearing and collection;




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                Wire transfer of funds;

                Federal Reserve automated clearing house facilities;

                Net settlement of debits and credits affecting accounts held by
                the Federal Reserve;

                Book entry and safekeeping of securities;

                Any new services the Federal Reserve System offers,      including but
                not limited to electronic funds transfers.

        In addition,       the cost of    Federal   Reserve   float   remaining   after

        operational improvements wes to be recovered at the Federal funds rate.

                individual Federal Reserve district banks were authorized, subject

        to Board approval,      to establish charges under the proposed schedule.

        They were also expected to take steps to erect a"Chinese wall'               in

        their operations to separate their priced services activities from

       their other operations such as bank regulation and functions related to

        the conduct of monetary policy.

                The fee schedule for check clearing services provoked the most

       discussion.       Initial prices were calculated on the basis of costs at

       prevailing levels of operation.           However, in the months following

       implementation of the price schedules for check-clearing services,          and

       despite increased use of the Federal Reserve services by non-member

       banks,    the voluie of checks processed by the Federal Reserve declined

       sharply     --   by 15% from August through December 1981.      This fall-off

       resulted in insufficient revenues to cover both direct and imputed

       costs of check-clearing, even after a 10% system-wide reduction of

       employees engaged in check operations and other cost reductions.

               In response to this situation, the Federal Reserve in February

       1982,    undertook an extensive review of its pricing schedules.             In

       August 1982, new check clearing prices were announced based on the

       principles that prices for any particular type of check clearing


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           service would always cover direct production costs, and that total

           check-clearing costs, including the PSAF, would be covered by total

           revenues from all      check-clearing services.       In the fall of 1982,   the

           Federal Reserve proposed several operational changes to speed up funds

           availability in order to make its services more attractive, improve the

           overall efficiency of the parents system,            and decrease the residual

           float to be recovered in compliance with the Monetary Control Act.

           First, the Federal Reserve's Interdistrict Transportation System was

           restructured to provide two, instead of one, daily dispatches from

           Federal Reserve offices.       Second,    the Federal Reserve also proposed to

           offer later deposit deadlines for checks collected, along with a later,

           uniform presentment time of noon by which it would present checks to

           paying banks located in Federal Reserve cities (i.e., cities with a

           Federal Reserve bank or branch).            With these changes,    the Federal

           Reserve hoped    to offer same-day clearing of most checks within a

           Federal   Reserve city and next-day clearing of most other checks.

          District banks began to aggressively market their services,            with two

          district banks hiring marketing vice presidents.

               There were strong and numerous reactions to these proposals, with

          many commenters        raising objections,         especially to the      "noon

          presentment" proposal.         That proposal, opponents said, would disrupt

          corporate cash management services,            place financial     institutions

          subject to noon presentment at a competitive disadvantage with other

          institutions, and give the Federal Reserve a competitive advantage vis-

          a-via private sector clearing services.

               In December 1982, the Federal Reserve revised its proposals to

          reflect    some   of   these   objections.      The   revised   proposals were




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        implemented in steps,        with new deposit deadlines,   new prices for check

        services,     and an 11:00 A.M.      presentment   time for checks drawn on

        financial     institutions    in cities with a Federal Reserve office going

        into effect on February 24, 1983.        The noon presentment tine for checks

        drawn on institutions        in Federal Reserve cities then went into effect

        on May 2, 1983, and new deposit deadlines and presentment times for

        certain financial      institutions outside Federal Reserve cities with a

        high volume of check presentments went into effect on July 1, 1983.

                As a result   of these changes in check collection and presentment

        and more aggressive marketing efforts,       the volixre of checks cleared by

        the Federal Reserve partially recovered from the initial drop off.

        Moreover, with the new fee schedules Federal Reserve revenues from

        check clearings increased to the point that,            in March and April of

        1983,    it experienced a small surplus of revenues over costs including

        the private sector adjustment factor.



                 **   The Federal Reserve's Actions with Regard to Float       **




                The Monetary Control Act also directed the Federal Reserve to

        recover the cost of System float, with the Congress supporting the

        Federal Reserve's      intention to first reduce the volume of that float

        through operational improvements to speed the collection of checks.

        Since the difference between the availability schedule and actual

        availability could be one or more days,            the Federal Reserve was in

        effect allowing depositing banks to earn interest on these funds during

        this period.      This System float was often as high as $6     -   $7 billion a

        day in the late 1970's.

                After passage of the MCA,      the Federal Reserve made a number of

        operational changes to reduce float.         Improved clearing procedures,    a



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            better float reporting system, and float reduction targets helped bring

            float down to an average daily balance of about $2 billion in 1982 from

            the peak of $6.7 billion in 1979.

                  The Federal Reserve proposals to speed up funds availability

           described above were one effort to reduce this remaining float.          The

           changes in its Interdistr jet Transportation System, the later check

           collection times,     and the noon presentment tine have cut system float

           by an additional $150 million.

                  In November 1982, the Federal Reserve released for comment its

           second major proposal to eliminate or subject to pricing the nearly

           $1.5 billion of float still remaining.      This included such sources    as

           interdistrict float, return item float (float arising out of checks

           returned for non-payment), holdover float, holiday and midweek bank

           closings and other forms of float.         The first of these to go into

           effect was the proposal for interdistrict float, which gave banks

           several   options for being credited for    interdistrict checks presented

           to the Federal Reserve for collection.     The proposal was implemented in

           July 1983.      Other proposals for dealing with the remaining types of

           float went into effect later in the year.        With these new procedures,

           the Federal Reserve eliminated or priced all check float that arises

           from   the   provision of   check   collection    services   to   depository

           institutions.




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                                           PART TWO

                              ISSUES AND CDNTROVERSIES
            CONCERNING THE FEDERAL RESERVE'S PRICING OF PAYMENT SERVICES


                   **   Competition between the Private Clearing Banks          **

                                    and the Federal Reserve



            The Federal Reserve's policies to         implement the explicit pricing

        requirements of the Monetary Control Act have brought the Federal

        Reserve and the private clearing institutions            into direct competition

        with each other.       Non-member banks now have the option of clearing

        their checks directly        through the     Federal     Reserve   or   through     a

        correspondent bank.       Other depository institutions such as savings and

        loan associations, savings banks, and credit unions that offer checking

        or check-like accounts to their customers also have the choice of using

        the Federal Reserve or private clearing services to clear these checks.

        As a result, smaller banks, savings & loan, and credit unions that had

        been buying services from correspondents have begun to take advantage

        of the presence of the "new competitor" in the market.

             Competition between the Federal Reserve and the private sector has

        been accentuated by the Federal Reserve's efforts to speed up funds

        availability and reduce float.            When the Federal Reserve made its

        services available to non-member institutions at explicit prices,

        market     segmentation    remained based     on   how   quickly   clearing       was

        accuLVlished.       With the Federal Reserve offering normal clearing at a

        competitive price,       private systems carved out a market segment by

        offering    faster clearing for special      items at a higher price than the

        Federal    Reserve provided.    However, when the Federal Reserve moved to

        improve     funds   availability and      reduce   float by    speeding      up   its

        clearing, offering later collection times, and shifting its present-rent



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           time to noon,      it moved into direct competition with these private

           clearing   systems.     Again,   smaller   depository    institutions    have

           benefited (some estimates are that the more rapid availability of funds

           under the Federal I
                             L-serve's proposals could add one-to-three percent to

           the earnings of a modiun-sized country bank).     The correspondent banks,

           however, were convirzes] that with noon presentment they would lose much

           of their check-processing business to the Federal Reserve.

                As direct competition increased between the Federal        Reserve and

           private clearing services,       the correspondent banks challenged the

           prices charged by the Federal iserve as being too low,       and questioned

           the accuracy of    the cost estimates that underlie     its price schedules.

           They also argued that the "Private Sector Adjustment Factor"         -   the

           surcharge the Federal Reserve adds to its costs to caensate for its

           advantage in not having to pay most taxes or          interest on capital

           investments   --   was not high enough, badly constructed, and did not

           include the presentment fees charged by private clearing        services to

           their customers.

                Fundamental     questions have also been raised about the basic

           fairness of competition between the Federal Reserve's clearing services

           and private clearing services.     Private clearing banks argue that they

           cannot compete equally with the Federal Reserve because of the Federal

           Reserve's special advantages, such as its national network and its

           exee'ption from bans on interstate banking, its role in another capacity

           as regulator of many of the institutions with which it competes, and

           its rule-making ability to establish practices such as noon presenthent

           which might benefit it.




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                  Federal Reserve officials argue that they are not competing

       unfairly, that they have made concerted efforts to segregate check-

       clearing and other priced             activities from their bank regulation and

       other responsibilities.            In addition, they say that competition between

       the Federal Reserve and the private clearing services is already

       benefiting financial institutions and the public by providing more

       efficient and faster check clearing.




                                 **   Impact on the Pa yments System       **




                  The questions about competition between the Federal Reserve and

       private clearing systems raise the basic issue of the kind of payments

       system this country requires.                The crux of the debate between the

       Federal          Reserve and     competing      institutions   is    the   role   of   the

       government in the national payments system.

                  Proponents of the view that the government should have a major

       role argue that check-clearing and other payment services are, like

       mail delivery, a basic function requiring a trusted, public agency that

        is always available at a standard rate to any party who wishes to use

       this service.            They further argue that the central bank has a vital

       role to play as the guarantor of the financial                       stability of the

       payments system and the clearer of last resort.                Maintaining a clearing

       system simply to handle these functions would be very expensive to the

       government,          they contend,   and a competitive Federal Reserve clearing

       system is the best way to assure that a trusted, secure, and reliable

       clearing nechanian is always in place.

                  Those who argue that check clearing should be handled by the

       private sector note that clearing and settlement among banks were




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          entirely private-sector functions prior to the Act of 1913 which

          created the Federal    Reserve System.    They contend that private sector

          institutions are inherently more efficient than public ones,        and that

          provision of check clearing iy the private sector would be cheaper and

          quicker.

               The debate over explicit pricing of check-clearing services also

          raises questions about the future of the payments system,            and in

          particular    the continued use of paper checks versus electronic funds

          transfers.    Before the Monetary control Act,   when the Federal    Reserve

          processed without explicit charge any number of checks that a member

          bank presented for collection,       the full costs of using checks for

          transaction payments were hidden.         Aside from the relatively fixed

          price of membership,   the only costs to a member bank were the costs of

          presorting and encoding       the checks before they were shipped to a

          Federal Reserve office.       The Federal Reserve bore the costs of all

          additional    sorting and of any Federal Reserve float that was created.

           Since member banks were not required to pay an explicit price for check

          processing,     consumers did not experience the true costs of check-

          writing.     They in turn had little incentive to economize in their use

           of checks for payments.     This may have encouraged the "overconsumption"

          of the paper-based payments Trechanian and discouraged the developnt

           and use of electronic payments systems.       Charging an explicit price

          enables users to decide which services they wish to purchase and can

           impose an incentive on the public to economize on the use of services

           that had been subsidized.

                If the explicit pricing of check clearing does in fact lead to

           increased use of electronic transfers instead of checks, this will have

           implications for the Federal Reserve's role in the nation's payments


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      system.   The Federal Reserve already operates "Fedwire",    which carries

      out the majority of the interbank electronic transfers of funds, and

      it has been an active participant in the development of regional

      automated clearing houses.      At present,   the electronic payments

      mechanisms most used by consumers such as automated teller networks are

      handled on a regional basis between participating bank members in local

      exchange networks.   Linking of these networks together on a national

      basis will require a new mechanism.    The Federal Reserve could be a

      logical participant in these new arrangements, both on the basis of its

      operation of "Fedwire!' and as the clearer of last resort.




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                                             PART THREE

                                             FINDINGS


               The issues raised in the hearings and described in this report

           fall into four categories: first, general issues concerning the role of

           the Federal     Reserve in the nation's payments system;           second,

           competitive issues dealing with whether the Federal       Reserve's pricing

           and operational actions    in response to the directives of the Monetary

           0ntr01 Act represent unfair competition with the correspondent banks

           that also provide payments services; third, consumer issues relating to

           the availability of funds received throug
                                                   h the pants system and the

           alleged impact of priced services on checking account and other fees;

           and fourth,   prospective issues concerning the role of the Federal

           Reserve in a future electronics-based payment system.       The firings of

           the Subcommittee address the issues in that order because the answers

           to the first category of issues are fundamental, and affect how the

           others are answered.

                Therefore,    the report first presents general   findings with regard

           to the appropriate and proper role for the Federal Reserve in the

           nation's payment system.      Second,     the report provides a series of

           specific findings on the issues of competition and the charges of

           unfair pricing and operational actions by the Federal Reserve that have

           been raised by the private clearing banks.      Third, the report addresses

           the effects of      the changes    in the payments   system on consumers,

           specifically,     the delays consirrs experience     in obtaining access to

           funds received by      check and deposited in their accounts,      and the

           increases in fees on checking accounts because of explicit pricing of

           payments services by banks and the Federal Reserve.           Finally, the




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         report explores the role of the Federal Reserve in the payments system

         as electronics fund transfers become more prominent and displace to

         some degree the use of checks.




                                      GENERAL FINDINGS
                       WITH REGARD TO THE ROLE OF THE FEDERAL RESERVE
                               IN THENATION'S PAYMENTS SYSTEM




               The first general finding is that a national public' institution is

        needed to play the central      role in the nation's payments system.          The

        second general finding is that this public institution should be a part

        of the Federal Reserve System,     this nation's central bank.




            **     A National Public Institution Must Play A Central Role         **

                              in This Nation's Payments System



               The role of the central bank        in the payments     system is more

        substantial     in this country than in a number of foreign countries.

        However,    the Federal Reserve's role in this country's payments system,

        like    the Federal    Reserve System   itself,   is a reflection of the

        structure of our financial system.      our financial      system,   for complex

        historical reasons, consists of thousands of commercial banks,           savings

        and loan associations, savings banks, and credit unions, of various

        sizes and functions.     These financial   institutions,    in turn, have been

        legally constrained to operate primarily within their own states,              and

        to take deposits exclusively within those states.

               The multiplicity of financial institutions in this country and

        their geographical constraints necessitate a major role for a national

        public institution in check clearing, collection and other aspects of

        the payments system.     Indeed, the need for a national institution to



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            conduct     interstate and   interbank clearing of checks,           evident from the

            breakdown of the nation's panents mechanism during                 the Panic of 19 07,

            was one of the major factors behind the creation of the Federal Reserve

            System.

                  The    geographical      constraints       on deposit       taking   by    private

            financial institutions virtually require a national public institution

            to provide nation-wide check clearing between different states and

            regions if checks are to be cleared at "par" or face value.                     There are

            in this country no nation-wide banks such as exist in Canada or the

            United Kingdom.       Only the Federal        Reserve under present banking         laws

            has   the   national    scope    to    clear   payments directly by         accepting

            interstate deposits.      If    interstate banking       should become     legal    on a

            national scale,     this situation would of course change.            Nonetheless,     a

            national     public    institution could still           be necessary even          with

            interstate banking, because it would be doubtful that any resulting

            interstate banks would be truly nationwide                  for    many years      after

            interstate banking became legal.

                  Even if private nationwide banks do develop,            the multiplicity of

            cortting financial institutions would necessitate a continued need for

            a public institution like the Federal Reserve to assure all financial

            institutions of a neutral,        trusted intetc1iary to handle the clearing

            and settlement on payments.             Such private nation-wide banks would

            likely be very        large and    few   in    number,   creating    a potentially

            oligopolistic      situation.         If these banks were the only clearers,

            smaller banks,     thrifts, and credit unions could face competitive

            problems in obtaining reasonably priced clearing services or remaining

            independent when dependent on such banks for clearing services.




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         national public institution like the Federal Reserve would assure that

         all institutions had equal access to clearing services.

                 Finally,    a national pub lic institution is required to assure that

         in tines of financial stress clearing institutions need not worry about

         the financial capacity of the clearing agent to honor its obligations.

         Recent events have demonstrated that even the largest private banks are

         subject to financial difficulties that jeopardize their ability to

         honor their canmithnts.        It is this unique capacity of a central hank

         to guarantee the L-utlpletion of the financial         transactions involved in

         check parents that undergirds the desirability of              a major   role for

         the Federal Reserve in the payments system.




            **     The Public Institution in the Nations Payments System            **

                             Should Be the Federal Reserve System




                 This report further finds that the present role of the Federal

         Reserve in the payments system should be retained.              It is true that

         this role in check-clearing and other paynts processing is a product

         of history, and that there are no intrinsic reasons why it alone should

         be the national institution in the payments system.             The role of the

         central banks in such countries as Canada and the United Kingdom has

         been limited to providing a mechanism for settlement of                  accounts

         between banks,      with the actual clearing of checks handled by the banks

         themselves.        Current bans on   interstate banking and the diversity of

         financial     institutions,    however, require a national public check-

         clearing institution in this country, but this institution could be

         separate from the Federal Reserve.          Indeed,   sane have recrsirended that

         the Federal Reserve's check-clearing operations be split from the




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           Federal Reserve System and set up as a separate public institution.

           However, the reasons for such a spin-off are not compelling, and the

           advantages of the present system outweigh any benefits of a separate

           public check clearing and collection agency.

                The principal objection to the present system lies in the fact

           that the Federal       Reserve regulates sany of the financial              institutions

           with which it competes           in check clearing.           It   is argued that the

           Federal   Reserve could use         its regulatory powers             to   enhance   the

           competitive appeal of its check-clearing services or harper the ability

           of private banks providing check clearing services as part of their

           correspondent relations,          some argue that a spun-off check-clearing

           operation would solve this probl e m              Such a corporation,      they contend,

           would also eliminate the questions of cost allocation and private

           sector adjustment factors that have created controversy over the

           Federal   Reserve's     prices   for payment services,         and would assure that

           any public subsidy of check clearing was explicit.                  The result would,

           in theory, be more fair and equal competition between the public check-

           clearer and private correspondent banks.

                Despite the superficial appeal of this proposal,                      the case for

           spinning-off check clearing operations from the Federal Reserve is not

           strong,   and    the    disadvantages    of doing        so   are   substantial.      In

           particular,     the risks of regulatory powers being used to the Federal

           Reserve's eunpetitive advantage in check clearing are hypothetical at

           best, and nonexistent in practice.           At   the seine time, a spun-off check-

           clearing corporation would create now and even more difficult questions

           about competition between a public check clearer and correspondent

           banks,    increase the expense to the public of government payments

           processing, and deprive the payments syst em of the accessibility,


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          convenience,   and above all security that the presence of the central

         bank now provides.

              The Federal Reserve has recognized the potential conflicts between

         its role as regulator and its role as competitive provider of paeent

         services and    it has taken steps to avoid then.        Personnel who work in

         the District Banks on priced services are separated in the chain of

         command from those who work in bank regulation, and Federal Reserve

         officials appear to be conscientious             in assuring   that    regulatory

         actions are neutral with respect to competition between the Federal

         Reserve and correspondent clearing banks.          The Subcommittee on Domestic

         Monetary Policy,    despite repeated requests,       received no evidence that

         the Federal Reserve's regulatory powers had been used or misused to

         provide it with a cctnpetitive advantage in check clearing.            Indeed, the

         public status of the Federal           Reserve and the congressional    oversight

         exanpl if ied by these hearings provide powerful        safeguards against any

         possible abuse of its regulatory powers.

              The one case which has been cited as a potential abuse of its

         rule-making authority     --    the noon presentment policy adopted by the

         Federal Reserve in 1982         --   is entirely consistent with this finding.

         Under this policy,      and     in connection with     the Federal      Reserve's

         initiation of   later   hours    for   the acceptance of checks   for overnight

         delivery and    its modifications in its transportation            system,    the

         Federal Reserve announced that it would have checks available for

         presentment (or dispatch) to paying institutions no later than noon.

         However, while this proposal was made with all of the apparatus of

         rule-making   (the publication of the proposal        in the Federal    Register,

         comment period,    and analysis of comments), it was not in fact rule-




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         making   since no rule was changed.         Presentment times earlier than the

         2Rø   P.M.   deadline    set   by   the Uniform Commercial        Code   had   been

         established by local     custom and agreement, not by     law or regulation.      A

         change by the Federal     Reserve as to when it would present checks was a

         breach of custom, not a change in rules.         Any impact on other financial

         institutions case from the Federal Reserve's predominant position in

         interstate check clearing,          which meant that the times the Federal

         Reserve adopted for check presentment became the de facto standard for

         all check clearers.        This result would still have occurred if the

         Federal      Reserve's   check      clearing were handled         by a separate

         corporation, because it was the Federal Reserve's prominent role in the

         market, not its status as regulator, which brought about the change.

         Indeed, a separate semi-public corporation might not be as constrained

         bj processes of proposal, carrnent,         and final adoption fol 1owed by the

         Federal Reserve.

               The argument that a separate check-clearing corporation is needed

         because of the alleged difficulties in constructing for a public agency

         a facsimile of the direct and capital costs of a private firm also does

         not stand up under       examination.       As will be discussed below,         the

         Subcommittee has found, based on its own research,          the    investigations

         of the GAO, and the conclusions of the independent accounting firm that

         audited the Federal Reserve's check-clearing operations,                 that the

         prices of the Federal Reserve's services are competitive, properly

         calculated,     and reflective of the Federal Reserve's actual costs plus

         appropriate private capital,        tax and profit factors.    Thus,     it is not

         necessary to spin off the Federal Reserve's check-clearing operations

         in order to have fair price contition between the Federal Reserve and

         the correspondent bankers.



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               Consequently,       the advantages of spinning off the Federal Reserve's

         check-clearing operations are relative, not absolute.                  Despite the

         absence     of any evidence of actual conflicts between the Federal

         Reserves      role as       regulator and as check clearer,             it could,

         nonetheless, be argued the potential for such conflicts imposes a

         psychological      disadvantage on private competitors,            who would be

         inhibited from strongly challenging the Federal Reserve's check-

         clearing business out of fear that success in such a challenge would

         bring regulatory reactions.          This potential cuotitive advantage for

         the Federal Reserve would he eliminated ty the spin-off of the Federal

         Reserve's check clearing.          Similarily, those who still had doubts about

         the accuracy of the Federal Reserve's cost allocation and private

         sector adjustment factor and the possibilities of hidden subsidies

         might   be more     comfortable competing with          a non-Federal-Reserve

         payments-system corporation.

               These limited advantages of a cleaner cutitive framework must,

         however, be weighed against the disadvantages of spinning off the

         Federal Reserve's check-clearing.            First, new competitive issues would

         be raised.      Second,   since the Federal      Reserve would still    retain its

         role as a fiscal agent for the government, which also involves payments

         services,    there would be duplication of check-clearing operations

         between the Federal Reserve and the spun-off corporation, increasing

         the cost to the government of its own operations.            To the extent that

         the   Federal    Reserve     and    the spun-off    corporation   shared   check-

        collection resources, cost allocation issus would still have to be

         resolved.    Finally,      a spun-off corporation would remove the security,

        confidence,       and   convenience that the Federal         Reserve's    presence

         provides.



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                     spun-off check-clearing corporation would have both handicaps

          and advantages against private competitors.          Depending on what powers,

           restrictions,   and   responsibilities it received,     its advantages could

          sake it such a formidable competitor that correspondent banks would be

           in a worse L-untitive position than now.      Alternatively, its handicaps

           could be so severe that it would be unable to be provide essential

           services without large public subsidies.

                If this corporation were to assuje the Federal        Reserve's role of

           providing uniform and equal access for all financial          institutions to

           its clearing services, it would have the extra costs of clearing to and

           from ratiote and rural institutions.     If correspondent banks through the

           removal of bans on interstate banking gained the opportunity to clear

           directly between states on the sane basis as the Federal Reserve,         the

           process known as "cream-skirmi...could occur         in which correspondents

           take over the low-cost and more profitable clearings between major bank

           centers.     The new corporation would then be left with higher-cost

           clearings to remote and rural areas.        To cover the higher costs, it

           would either have to charge more for these clearings, or depend on

           Federal government subsidies to provide these services at uniform

           prices.    The first course would mean a return to non-par banking since

           customers of banks in remote areas would pay substantially more to

           write checks than would customers of banks in major financial centers;

           the second course would reverse the intent of the monetary ODntrol Act

           that the costs of check clearing be borne     by   the users of that service,

           not the general public.      In addition, if the corporation assumed the

           Federal Reserve's present policy of fostering long-term,            socially

           beneficial    improvements in the panents system,      it would have to bear




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         heavy development costs for innovations which its competitors could

         then freely use.

              On the other hand,      if the new corporation retained the Federal

         U
         L-serve's monopoly in interstate clearing,      it could be so powerful   it

         could drive correspondents out of non-local clearing.          As a public

         corporation,    it would be freed       from the degree   of Congressional

         oversight and self-restraint that the Federal Reserve now has, and

         could be far more aggressive in offering new services,     providing faster

         deliveries,    and competitively pricing its products.     For example,   it

         could provide corporations with the total value of checks presented to

         their banks each day, effectively drawing cash management accounts away

         from banks.     The expertise which the Federal      Reserve as a public

         institution now shares with banks might,     too, become proprietary under

        a public corporation, adding to the corporation's advantages.      Finally,

         the new corporation's prices could actually be lower than those now

        charged by the Federal Reserve since it would not need to share the

        costs of overhead and high security associated with Reserve Banks.

             These divergent sets of problems may not be insoluble, but the

        solutions are neither simple nor non-controversial.            Finding the

        combination of restraints and powers that would assure both equal

        competition between the spun-of f corporation and correspondent banks

        and uniform access to check clearing would be certainly no easier than

        establishing a level playing field between the correspondents and the

        Federal   serve, and might well be a lot harder.

             The most critical disadvantage of the spin-off would be the loss

        of security,   reliability,   and convenience to the pa yments system that

        the Federal Reserve, as the nation's central bank now provides.        The

        extent of that loss would depend on how check-clearing was spun off and



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          the relationship of the new corporation to the Federal Reserve.          In the

          spin-off proposed by the National Panseits System Coalition,        the only

          relation would be   the sane access to the Federal Reserve's settlement

          facilities which would also be enjoyed by private correspondents.            At

          that extreme, the public clearing corporation TAVuld be simply a service

          bureau, without the base of financial assets which the Federal Reserve,

          or even correspondents, can draw on in carrying through uncertain

          transactions.   Such a corporation would either have to be very cautious

          and conservative in   its clearing, only giving credit for the transfer

          of funds to a payee bank when it had received clear and unequivocal

          credit for those funds from the payer bank, or it would have to run the

          risk that the credit from the payer bank may be lost in the event of

          its failure.    Confidence in the reliability and timeliness of the

          pasonts system would be weakened as result.    Such a corporation would

          not be able to provide the assurance currently provided by the Federal

          Reserve that panents involving troubled institutions will continue to

          be processed.     This   situation would   increase   the   risks   of    such

          institutions becoming insolvent.




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                                     SPECIFIC FINDINGS
                  WITH REGARD TO COMPETITION BETWEEN THE tERAL RESERVE
                              AND THE PRIVATE CLEARING BANKS



                The general findings that a continued role for the Federal Reserve

          in the nation's payments system is both appropriate and necessary do

          not mean that the Federal       Reserve has or   should have a complete

          monopoly   in this area.     There has been private check clearing and

          collection in this country for as long as checks have been used, and

          the majority of checks are currently cleared outside the Federal

          Reserve through local clearing houses or correspondent banks.        There is

          no   reason this situation should change.        Indeed,    the competition

          between the Federal Reserve and the private clearing banks that the

          Monetary Control       Act   created was seen as     leading     to greater

          efficiencies in the payments system as a whole.     Thus,   finding that the

          Federal Reserve should continue to play a major -role         in the payments

          system does not vitiate the issues of whether the Federal        Reserve has

          competed fairly with private clearing banks.         These are legitimate

         questions that most be addressed if we are to assure that         the Federal

          Reserve's role in check-clearing does not come at the expense of the

         private clearing banks.

                The specific findings in this section address these questions

         about the fairness of competition between the Federal        Reserve and the

         private banks in check clearing.         They are set in the context of the

         general findings about the need for a continued Federal Reserve role in

         the payments system, because that need must take priority over all

         other considerations.     Perfect competition and   improved efficiency in

         pants services are desirable goals,          but the safety,    security,   and

         accessibility of the payments system are necessary and paramount ones.



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          The clear intent of the Monetary Control Act and the firm conclusion of

          this Sulcaiunittee is that the latter goals require a major role for the

          Federal     Reserve in   the payments system.    The Monetary Control Act did

          not envisage, nor does the Subcommittee accept,              the creation of a

           theoretically pure and perfect eripetitive setting if the result is to

          drive the Federal Reserve out of the payments system and thus weaken

           the safety, security, and accessibility of the system.           However, the

           Subcommittee would also not accept,         nor did   the Monetary Control Act

           intend, a situation in which the Federal Reserve through its actions

          drives the private clearing banks out of check clearing.            Thus,    these

           specific findings do not seek to measure the actions of the Federal

           Reserve in the implementation of the Monetary Control Pct against some

           ideal model of competitive markets, but against the practical          test of

           whether     those actions have had the       intent and effect of     reducing

           competition     in   and    creating Federal   Reserve dominance     of     check

           clearing.




              **    The Federal Reserve's Efforts to Offer Faster Collection          **

                           of Checks and Earlier Availability of Funds
                                    We re Appropriate Actions



                   Even if the continued role of the Federal Reserve in the nation's

           payments system is accepted, there can still be questions about the

           extent of the role.        One solution could he to limit the Federal Reserve

           Solely to the role of clearer of last resort.           Under those conditions,

           the Federal Reserve would provide universal,          basic clearing services,

           with direct subsidies if revenues from low volumes were insufficient to

           cover necessary fixed costs.          The alternative solution is that the

           Federal Reserve be the clearer of both first and last resort.              In this



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           scenario, the Federal Reserve would offer competitively priced and

          competitively structured clearing services that enable it to maintain

           sufficient volume to meet the fixed costs associated with being the

          clearer of last resort.

               The Federal Reserve has chosen to follow this alternative course.

           It has argued that to do otherwise would be a less efficient and more

          costly use of resources.    Accordingly, it has taken steps to improve

          the attractiveness of its processing and clearing services in order to

          be a competitive clearer of first as well as last resort.

               That decision led to the controversy over the Federal       Reserve's

          check clearing actions that became significant in 1982.       Early   in the

          year, the Federal Reserve announced it would provide faster check

          collection and   earlier   funds availability by     reconfiguring      its

          interdistrict transportation system and pushing to noon the deadline

          for its presentment of checks to banks.    As a result of these actions,

          the Federal   Reserve's   check-processing     became more     generally

          L1utitive with private correspondent banks, which had been offering

          faster collection at higher prices.

               The National   Payments System Coalition on behalf of private

          clearing banks argued that the Federal       Reserve's actions did not

          enhance payments-system efficiency.    Instead, the Coalition claimed

          that "the Fed's recent actions enable it to subsidize high-dollar,

          availability-sensitive checks with low-dollar check volume." [Joint

          Hearings on the Role of the Federal Reserve in the Check Clearinq and

          the Nation's Payments System, p. 34]      The Coalition further charged

          that faster Federal Reserve clearing increased its costa and led to

          higher prices for all customers, even though earlier availability

          primarily benefited customers with many high-dollar checks.


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               The Federal Reserve defended the speed-up in its clearings as

          making the most efficient use of its facilities and as benefiting all

          users of the check-clearing system.             In regard to the specific charges

          about the alleged increase in costs to make these changes, it argued

          that "the reconfigured netwo rk, although more extensive, achieved these

          jnprovients in availability without significant increases in the costs

          of providing interdistrict transportation." [Hearings, Appendix 5,

          P. 1010)

               These arguments were carefully considered by the Subcocrnittee.              A

          review of the contracts with transportation providers showed that the

          Federal    Reserve     had    obtained    the   more   frequent   flights   in   its

          reconfigured network with little or no increase in the contracted

          prices.    The    increases   in   the Federal Reserve's check-processing fees

          which occurred at the s            tine as its move to a later presenbrent time

          were not associated with any increased costs from the faster clearing.

          These price increases were due,           instead, to a recalculation of fee

          schedules to cover the revenue short-fall created by the volume decline

          experienced in 1982.          In these circumstances,       the   improvements in

          availability offered by        the Federal Reserve were designed to prevent

          further declines in      voloce by providing a more attractive service to

          offset the increase in fees that would have occurred anyway.

               The Subcamnittee believes that the Federal             Reserve's decision to

          be a competitive clearer of first as well as last resort is proper and

          consistent with the mandate of the Monetary Control Act.             It also finds

          the Federal      Reserve's efforts to speed up funds availability through

          in enhancements of its check-clearing services were appropriate and

          proper.




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               **         The Federal Reserves Cost Al location System arx               **

                     Cost Recovery Efforts Comply with the Monetary Control Act



                    One of the principal charges made against check-clearing pricing

          by   the Federal Reserve is           that its prices are too low because the

          Federal      Reserve has not calculated and allocated          its costs properly.

          Specifically, it has been charged that the Federal Reserve:                  (1) has

          mistakenly used average-cost pricing instead of marginal-cost pricing;

          (2) has underal located its joint operating costs;               (3) has not fully

          recovered the cost of float; (4) has been too slow in recovering its

          stated costs and has not made provisions to recover its current losses

          in future periods;      and    (5)   has not provided adequate cost      information

          for competitors to assess the accuracy of the Federal Reserve's prices.

                    In examining how the Federal Reserve has elected to allocate and

          recover various costs, a number of models and judgments that a prudent

         business person would normally undertake were considered to determine

         whether to follow any particular course of action.                  If the Federal

         Reserve were not          an    instrumentality of the United             States,     a

         determination that reasonable business practices were followed would

         have sufficed.        However, in as much as the entity whose policies are

         being questioned is the central bank and an instrumentality of the

         United States, there are to additional constraints placed upon it.                   As

         a governmental       entity it has a special         responsibility to   assure that

         its cost allocation       and    recovery programs are       impartial   and uniform.

         As the central bank it has the responsibility to assure all depository

         institutions       have access        to   its   services.   The examinations and

         findings, which have sought to reflect those responsibilities, are

         described below.




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         1. Average-Cost Versus Marginal-Cost Pricing




              The National Payments System Coalition has argued that the Federal

         Reserve should use marginal-cost pricing         instead of average-cost

         pricing.     Marginal cost pricing means that prices are set on the basis

         of the increase in total costs involved in producing the last unit of

         production,    while average-cost pricing means that prices reflect total

         costs divided by the total nunber of units.      Marginal-cost pricing   is

         considered by economists to be the most efficient way of pricing

         because "only marginal-cost pricing reflects the cost to society of

         producing more payment services rather than something else." [Hearings,

         p. 33]     Since marginal-cost pricing is allegedly used by private firma,

         the Coalition has argued the Federal Reserve should also price in this

         fashion if it is to compete fairly.

                 The Federal Reserve has responded that,      while marginal-cost

         pricing is preferable in principle, it is not feasible in practice.      In

         the view of the Federal Reserve Board,     it would not be consistent with

         their    responsibility   to provide an equitable and   reliable nationwide

         payments system.    Neither would it necessarily produce higher prices as

         the Coalition presurted.

                 The Federal Reserve also argued that principles of equity and the

         canton economic good require that payments services be accessible on an

         equal basis to all financial      institutions in all parts of the country.

         Marginal-cost pricing could lead to the loss of access by certain

         financial institutions and certain geographical locales to the national

         payments system at reasonable prices,        while average-cost pricing

         provides greater assurance of universal and equal access.




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               The Coalition's      argument that there are diseconomies of scale in

          check-clearing       is   also   challenged    by    the    Federal   Reserve    for

          methodological reasons.       While use of pre-pricing data by proponents of

          marginal pricing may have led to thisfinding, the Federal Reserve

          believes there have been constant returns,            if not economies of scale

          (i.e., declining unit costs), since the reorganization of its check-

          clearing operations       in response to the Congressional mandate to price

          check clearing and collection services.          Since Federal Reserve offices

          routinely experience,      and are organized to handle,        large intra-monthly

          swings in volume, unit costs actually rise during volume declines,

          suggesting at     least    certain economies        of size.     It   is   probable,

          therefore,   that marginal-cost pricing would have results equal to or

          lower than average-cost pricing      --   not higher as the Coalition asserts.

               OUicials of the General Accounting Office in their testimony

          before the Subcommittee essentially agreed with the Federal Reserves

          position, concluding that "in practice it is               ften very difficult to

          determine what are marginal costs." [Hearings,         p. 302)    They went on to

          note that there could be "an       inequity with respect to the competitive

          situation between the private sector and the Federal                  Reserve,    if

          marginal-cost pricing were to be adopted" for the Federal                  Reserve.

          [Hearings, P. 303)

               Therefore,   while there are theoretical reasons which support

          marginal-cost pricing,      the Federal   Reserve's adoption of average-cost

          pricing is an acceptable solution.            It has not produced prices for

          Federal Reserve services which are uncorrpetitively low or so high as to

          inhibit its ability to perform its role as clearer of last resort.               The

          Coalition's argument that average-cost pricing guarantees inefficient

          resource allocation because it does not reflect the cost to society of



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         producing mare payment services rather than sanething else ignores the

         basic need for certain minimal payment services for all                financial

          institutions regardless of where they are located or the cost of

         providing service to then.




          2. Accuracy of the Federal Reserve's Planning and Control System



               The Coalition contends that the Federal Reserve's Planning and

         Control System (PACS)      is flawed because of its arbitrary allocation of

         joint   operating    costs.    As   evidence,    the   Coalition   presented   a

          comparison of average 1982 check-clearing costs of 3.429f per check for

         18 correspondent banks with estimated Federal             Reserve's     internal

          processing costs of 2.080 per check [Hearings, Appendix 6, p. 1148].

          The Coalition further argued that the Federal Reserve has not accounted

          for other direct, allocation, and selling costs, which if included

          wo uld produce costs clqser to those of the correspondent banks.

               In response,    the Federal Reserve argues that the Coalition's

          analysis is incorrect and that the PACS system does,       in fact,    allocate

          all direct and   indirect costs.     As for    its lower per-check costs,    the

          Federal Reserve argued that its own per-check costs vary from location

          to location,   and that the Coalition's sample may have included a large

          proportion of high-cost banks.

               A GAO report    to    the Senate Banking Committee concluded           that

          "examination of operating expenses found no understating of expenses

          that would raise Federal Reserve Reserve check clearing prices to any

          extent." [U.S. General    Accounting Office,   Draft Report to the Committee




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         on Banking,     HouSinq and Urban Affairs, U.S. Senate, on Federal Reserve

         System Pricing of Check Clearing Activities,    March 16, 1984, p. viii)*

               Based on staff analysis of these arguments,         the subcommittee

        concludes that the Federal        Reserve's system of cost allocation is

        appropriate and inclusive.      The fact that several of the correspondent

        banks had per-check clearing costs equal to or lower than the Federal

        Reserve's supports     this conclusion.    The Subcommittee agrees with the

        Federal Reserve that any differences between the average per-check

        clearing costs of the Federal Reserve and correspondent banks is likely

        to    reflect different     levels   of   services   provided   by   different

        correspondents.



        3. Treatment of Float In Prices for Check Clearing and Collection



               Federal   Reserve float occurs when the Federal    Reserve has given

        credit to the institution that where a check was deposited before the

        Federal Reserve has received pammnt for the check from the institution

        on which it was written.      Float is, in effect, an overnight loan, and

        the value of that float is equal to the interest rate that could be

        earned on overnight loans such as in the Fed Funds market.              In the

        past, average daily float was as high as $6.5 billion in 1979.            The

        intent of the Monetary Control Act was that the Federal Reserve would

        price all float remaining after operational improvements.

               The Federal Reserve's approach has been to improve operations so

        that actual availability more closely equalled availability schedules.



        *    The final GAO report on Federal Reserve System Pricing of Check
             Clear jnq Activities will be published late in 1984. GAO staff have
             assured the subcommittee that the conclusions in the draft report
             cited here and below are the same as will appear in the final
             report.




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          These efforts reduced average daily float levels to $2.3 billion in

          1982.     In November 1982, the Federal Reserve offered several additional

          proposals      to    reduce   and    price   the   renaming    float,      which were

           impl emented during 1983.      By the end of 1983 average daily check float

          within the Federal Reserve System had been reduced to $1.2 billion, and

          the cost of this float (i.e.,        tSe earnings on it at the Fed Fends rate)

          fully recovered through fees and prices.

                  The Coalition,     arguing at the time of the bearings that these

          efforts had been slow and uneven, had urged that the Federal Reserve

          should     immediately      either    "penny price" all       float   or   alter   its

          availability schedules so that it only gave funds availability that it

          actually received.          They further asked the Federal Reserve to drop

          plans to charge interdistrict float back to the institution that

          deposited the checks.

                  In response,     the Federal Reserve stated that over 95% of the

          checks it handles are cleared according to its availability schedule.

          At the time of the hearings,         it also promised that, on October 1, 1983,

          the value of all remaining Federal Reserve check float would be added

          to those costs which are to be recovered. The GAO in its subsequent

          report concluded that the Federal Reserve had substantially reduced

          System float,       and that its prices now cover all operating and imputed

          costs, including the value of float.                (GAO, Draft Report, Federal

          Reserve system Pricinct of Check Clearing Activities, Appendix V, P. 3.]

                  The Subcommittee,     in agreement with the GAO,      therefore concludes

          that the Federal Reserves approach of reducing system float before

          pricing the residual      float was appropriate, and that present reduction

          and pricing of float satisfy the requirements of the Monetary Control

          Act.



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           4. Recovery of Costs



                The Monetary Control Act directed the Federal Reserve to set

          prices    for      its    services   that    would    over   the   long    run    generate

           sufficient revenues to cover             its costs (including the value of float)

           plus a private sector adjustment factor.                    The Federal Reserve has

           attempted to recover costs, but,            because of volume declines and other

           factors, had not done so through 1982.                For 1982, total revenue for

          check clearing was $21 million below total adjusted costs ($283 million

           in revenues, $304 million in costs).              The total shortfall including the

          private sector adjustment            as $61.6 million.       The total value of float

           (that is,    the value of the interest on the float),                    which was not

           included     in    the    recovered     costs,    was $265.7 million.           [Hearings,

          Appendix 5,     pp.   956, 962]

               The Coalition argued that the failure of the Federal Reserve in

          1981 and 1982 to recover all of its costs (including float) plus the

          PSF meant that            it had effectively subsidized its check-clearing and

          other priced services.           This,    claimed the Coalition,      gave the Federal

           Reserve an unfair competitive advantage since its prices to customers

          did not reflect the costs it or             its competitor's incurred in providing

          check-clearing services.           In the Coalition's view, 'there appear[ed]            to

          he no valid reasons for further delay in                [the -F'ederal    Reserve)   fully

          Lctuplying with the MCA."         [Hearings, p. 26]

               In response, the Federal Reserve argued that it had made good

          faith efforts to price in order to recover costs,                  that shortfalls were

          the product of unpredictable volume declines and lack of explicit

          pricing experience,         and that the Monetary Control Act by directing the

          Federal      Reserve       to   recover    costs    "over    the   long   run"     clearly



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          anticipated the possibility of such shortfalls.           The Federal Reserve

          further    stated   that      its cost   recovery efforts       for    1983     were

          substantially better.         In the first quarter of 1983, total revenues

          exL-taaied total adjusted costs (including a phased-in partial               recovery

          of float) by $2.2 million before the PSAF, and was only $8.2 million

          below costs including the PSAF.          In the second quarter of 1983,         total

          revenues exceeded adjusted costs without the PSAF by $17 million,                 and

          were $6.5 million above total costs including the PSAF.                 [Hearings,

          Appendix 5, pp. 957-958].       For the year, check-clearing revenues fell a

          scant $1.4 million below total expenses (including the value of float)

          plus the PSAF.   [Board of Governors of the Federal Reserve System,              70th

          Annual Report,   1983,   p.   2321.

                 The CAO report,   which analyzed the Federal Reserve's cost recovery

          data   through 1983,     agreed that     since   the second quarter of         1983,

          Federal Reserve revenues from check-clearing had exceeded the amount of

          costs and the PSAF, exclusive of about $100 million in the value of the

          remaining float.    It concluded that "a price increase in Decenber 1983

          eliminated the remaining revenue shortfall"             [GAO,   Draft,       Federal

          Reserve System Pricing of Check Clearing Activities,            p.    10],    thereby

          bringing the Federal Reserve into full compliance with the cost-

          recovery provisions of the Monetary Control Act.

                 The Subcommittee agrees with the Coalition that the failure of the

          Federal Reserve to fully recover         its costs in 1982 may have given the

          Federal Reserve a temporary unfair competitive advantage.             However,     it

          finds that the Federal Reserve wes nonetheless in uiupliance with the

          provisions of the Monetary Control Act.          The MCA directed the Federal

          Reserve over time to recover all direct and indirect costs, except




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           where the Board determined that it was necessary to depart from this

           principle in order to maintain the provision of an adequate level         of

           services nationwide.     Given the risks to the payments system that the

           transition to priced check-clearing services inevitably entailed,        the

           Federal   Reserve's gradual   approach to full cost recovery was prudent

           and appropriate,     and in conformity with the Monetary Control Act.

           More to the point,     the revenue surplus for priced services since

           January 1984 indicates that the Federal Reserve has achieved full

           recovery of all identified expenses.




           5. Provision of adequate Cost Information to the Public



                 The Coalition as wall as the American Bankers Association have

           complained about a lack of adequate information from the Federal

           Reserve on the basis for its fee schedules.      In response,   the Federal

           Reserve has begun to release on a quarterly basis its costs,       revenues,

           and surplus or deficit, and to provide more detailed annual data on its

           costs and on the construction of PSAF.     The Subcommittee believes that

           this appears to be a suitable arrangament.




            **   The Federal Reserve's Private Sector AdjusTent Factor     (PSAF)   **

                                    is Properly Calculated



                 The Private Sector Adjustment Factor (PSAF)   is an amount   intended

           to reflect the imputed financing costa and taxes that would have been

           incurred if the Federal Reserve were a private sector provider of

           clearing services.     The factors used by the Federal Reserve have been

           criticized for understating Federal     Reserve costs.   Specifically,   the

           formula used in calculating the PSAF has been criticized because it is




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         alleged that: (1)     the model industry used by the Federal Reserve in

         calculating financing and tax costs is inappropriate;              (2) as a result,

         the imputed equity financing, debt financing, and tax rates are too

         low;   (3)   the Federal    Reserve has under-allocated its capital base to

         priced services;      (4)   the Federal Reserve has mistakenly used book

         values for      its capital     instead of market values;          (5)   it has not

         capitalized its leased properties as assets; and (6) it has ignored

         additional taxes paid by private sector competitors such as sales taxes

         on goods and services        purchased.        The Subcarrnittee's findings on each

         of these paints follow.


         1. Model Industry Used by the Federal Reserve in Calculating the PSAF


                in calculating the proportion of capital raised fran equity, long-

         term debt and      short-term debt, the cost of equity, and the tax rates

         that would apply if it were a private institution,             the Federal Reserve

         has used as a model the tselve largest bank holding companies.               It has

         argued that these companies are representative of the correspondent

         banks with whom the Federal Reserve competes for check clearing and

         collection,    and that their services and activities are more analagous

         to the Federal Reserves services than are other possible models such

         as public utilities, goverrinant-sponsored entities like the Federal

         National Mortgage Association, or nonbank data processing companies.

                The Coalition challenged the use of bank-holding cospanies as a

         model, arguing that the rates of return on capital and the tax rates

         for such conpanies are based as much or more on their banking business

         than their payments processing business.                 It argued that the more

         appropriate model is a group of financial-related data processing firms

         that "have the most similar mix of services to the FRB and in most


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          respects resemble the FRB in their methods of operation." (Hearings,

         Appendix 6, p. 1161).

                 The Federal Reserve in response reiterated its arguments that

         bank-holding companies are the most appropriate model,                  although it has

         expanded the sample from the 12 largest bank-holding companies to the

         25   largest   ones.     It   specifically         rejected     the   data-processing

         companies as a model on the grounds that: first, "the fortunes of these

         data processors are tied to deve1optnts in activities far removed from

         the Federal Reserve," such as the health care industry [Hearings,

         Appendix 5,    p.   1016];    second, "the data processors do not collect

         checks like the Federal Reserve and other depository institutions"

         [Ibid.];    and third, "the data processors generally only perform a

         portion of the Federal        Reserve service       ...   the recording and transfer

         of payments information."       [Ibid.    p.    1017)     The Federal   Reserve agrees

         that large banking organizations engage in a wide range of activities,

         but also argues that many of these are related to the activities of

         their     correspondent divisions.             "The fact    that the correspondent

         banking organization does not raise capital on its own and interacts

         with the totality of the banking organization generally reinforces the

         logic of using the bank holding company model." [Ibid.]

              The GAO recamendatjon on this issue is clear:                "In our opinion it

         is not appropriate on the basis of available evidence to expect the

         Federal Reserve's after       tax rate of return on equity or capital            to be

         comparable to that reported by data processing firms." [GAO, Federal

         Reserve System Pricing of Check Clearing Activities, Appendix X, p.26]

         "[wie believe that basing the PSAF rates of return on those experienced
         by bank holding companies provides reasonable results...."                     [Ibid..,

         p. 24].



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             The Subcommittee recognizes that the choice of a model is critical

         because of its     implications for capital costs and tax rates,         and

         appreciates the differences between bank holding companies and the

         Federal    Reserve's check-clearing operations.   However,   while there is

         no ideal    industry or group of companies which could serve as a model,

         the bank-holding-company model is a reasonable one.       In any case,   the

         differences between the Federal Reserve's check-clearing operations and

         those of data-processing firms are even greater than those between the

         Federal Reserve's operations and bank holding companies.                  In

         particular,   the greatest capital expense incurred in check-clearing is

         entailed in the physical process of receiving,      sorting, batching,   and

         delivering checks,    not in the processing of the data on the nusber and

         and value of checks processed.       Data-processing companies are not,

         therefore, a good model.    Accordingly, the Subcommittee finds that the

         bank-holding company model,    while not perfect,   is the best available

         one for purposes of calculating the Private Sector Adjusbient Factor.




         2. Accuracy of Imputed Equity, Debt, and Tax Rates


              The imputed equity and debt costs and tax rates used in the PSAF

         are directly reflective of the model industry used.      The charges of the

         Q)alitjon that the PSAF is too low because the Federal Reserve is using

         too snail a proportion of equity-financed capital, too low a rate of

         return on that equity, and too low a tax rate, thus, are valid only if

         the Federal Reserve's model of bank-holding curanies is incorrect and

         the CDalitiods model of data processing firms is correct.         Since the

         Subcommittee finds    that the Federal Reserve's model   is not incorrect,

         and is preferable       to the one proposed by the Coalition,            the


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         Subcommittee also concludes that the imputed equity and debt costs and

         tax rates now used in the PSAF are appropriate.




         3. Allocation of Capital Base to Priced Services


              In determining what proportion of the capital base should be

         allocated to priced services and thus subject to the capital costs of

         the PSAF, the Federal Reserve in the past has used a ratio of priced-

         service operating expenses to total system operating expenses.        The

         Coalition has criticized this approach on the grounds that it ignores

        differing levels of capital assets,       leaves out sane assets, does not

        capitalize leases or investxrents, and omits financial assets.

             The Federal Reserve has agreed that,      while an expense ratio is a

        reasonable basis for allocating assets, direct determination of the

        uses of assets would be more precise.       It is using this method in its

        formulation of the PSAF for 1984, and has found that it actually lowers

        the proportion of assets allocated to priced services, 'largely because

        the anount of floor space in Federal      Reserve buildings used by check

        processing and other priced services      is substantially less (31%) than

        the 40% assumed under the expense-ratio method.

             The   Subcommittee   agrees   with   the Coalition   that   a direct-

        determination method is preferable to the expense-ratio method, and

        finds that the Federal Reserve's adoption of that approach resolves

        this issue.



        4. Use of Book Value Instead of Market Value for Capital Assets



             In calculating the value of the capital assets associated with

        check processing, the Federal Reserve has used the book costs; that is,


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         historical costs net of depreciation.           The Coalition has criticized the

         use of book values as "not very useful                ...   in pricing products or

         services."       ....   "The correct measure is current replacement cost,

         market value, or some other measure that indicates the 'opportunity'

         cost of employing          the capital       in one   use rather     than   another."

          [Hearings,    p. 431

               In response,      the Federal Reserve has argued that the use of book

         values is universal in private business, including the large bank-

         holding companies; that use of book value is consistent with generally

         accepted accounting principles;              and that,      in any case,    it is the

         historical cost that must be financed through equity or debt.                  While

         the Federal Reserve conceded that market values may be important in

         making resource allocations,         it argued that this would only make sense

         if market.-value accounting was used by all firma or if there was a

         sizable difference between the market value and the book value of the

         equipmet and building space devoted to priced services by the Federal

        -Reserve.      The Federal      Reserve suggested that the latter kas not true,

         and contended that the former did not prevail.

              The GAO study agreed with the Coalition that "to make better

         resource allocation decisions it is important for the Federal                 Reserve

         to obtain the best possible market value of the assets it devotes to

         priced services."       But,   it disagreed with the Coalition's argument that

         use of market value for assets would increase the PSAF, calling such an

         effect "uncertain"        [GAO, Federal Reserve System Pricing of Check

         Clearing Activities, p. 49].

              The Subcommittee finds no reason that would obviate the GAO's

         conclusion.     The Federal Reserve's continued use of book value would,

         therefore,    appear to be appropriate at this time.



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         5. Treatment of Leased Assets



              The Coalition has argued that all leased Federal Reserve physical

         assets and real   estate should be    included in operating expenses,       and

         their value included as assets in the capital base.               The Federal

         Reserve's outside accounting        firm concurs    that current generally

         accepted accounting principles do require capitalization of certain

         leases, and the Federal Reserve has agreed to do so.        However,   neither

         the Federal Reserve nor its outside accounting firm believe that such

         leases should be included in the asset base used in calculating the

         PSAF, because the financing costs associated with the leased assets

         would then be double—counted: once, in the operating expenses to be

         directly recovered,   and again in the cost of capital associated with

         the asset base.   The Subcommittee agrees with this argument,       and finds

         that the Federal Reserve's treatment of leases is proper.



         6. Inclusion of Sales Taxes



              The Coalition has argued that the Federal Reserve has not included

         in the PSAF an adjustment factor for the state and local sales taxes

         that private competitors have to pay on the goods and services they

         purchase to carry out     check   processing.       The Federal   Reserve   is

         specifically expted under       the Federal Reserve Act from paying such

         taxes.

              The Federal Reserve has agreed with the Coalition's contention

         that sales taxes have not been and should be included in the PSAF.          In

         its current proposal for the PSAF,        the Federal Reserve has incl ud ed a

         factor reflecting     such taxes.     The Subcommittee agrees with this

         action.



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                              **   Other Issues Concerning Competition **

                                        **    Presentment Fees      **




                 Presentment fees are the charges that a bank accepting a check for

          deposit pays to the bank on which the check is drawn when presenting

          the check for payment.          The Federal Reserve under the Federal Reserve

          Act is exempt from paying presentment fees.                  The Coalition has argued

          that presentment fees are a legitimate charge to cover costs of check

          processing, and that ex emption of the Federal Reserve from the payment

          of    such   fees    gives    it   a competitive advantage.               The Coalition

          consequently recommended that the Federal Reserve be subject to the

          payment of presentment fees.

                 The Federal Reserve's response has been that presentment fees are

          an improper charge, because a bank which issues checks should assume

          any   internal      processing      costs and assess them to the                individual

          customer accounts.         Consequently,        it has argued    that    not only should

          the Federal Reserve not be subject to such fees,                 they should be banned

          altogether, at least for checks presented before 2:00                      P.M., the time

          set by the Uniform Commercial Code.

                 There are also practical problems with imposing a presentment fee

          on the Feral Reserve.           A study commissioned by the Federal Reserve of

          the industry's use of presentment fees indicates that they are neither

          universal     nor    linked to      increased costs such as             those   for   later

          processing.         According      to   this   study,   only    large correspondents

          typically charge presen t
                                  ment fees,              while few,     if any,    sma ll   banks or

          thrifts do so.       Moreover, suc h fees are normally only charged on checks

          sent by certain collecting banks directly to the paysr bank, and not on

          checks presented through a clearing house to which the payor bank



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         belongs and on checks from banks with which the payor bank has a

         reciprocal arrangement.     The fees themselves range considerably, being

         subject to individual bank arrangements with no standard fee prevailing

         in particular areas.      The time of presentment did not affect whether

         there was a presentment fee charged but did affect the size of the fee.

          [Hearings, Appendix 5,   pp.   1080-1081]

              The Subcommittee agrees with the Federal Reserve's position on

         this issue.    The only real justification for such fees has been the

         argument that banks       incur additional costs for processing checks

         outside their normal processing tines, and that presentment fees both

         help defray these costs and provide economic incentives for presenting

         checks   within   those   processing       times.   However,   since   the    UCC

         establishes the 2:00 P.M. time as the deadline before which a payor

         bank must pay on that day a check presented to it for payment, normal

         processing times should be set up to include all presentments up to

         2:00 P.M. so that there should be no additional costs in processing

         such checks.      Penalty fees for presentment after 2:00 P.M. may be

         legitimate, but the Subcommittee can see no justification for any

         presentment fees before that time.




             **   Interstate and Noncompetitive Intrastate Check Pick-Ups        **




              Federal statutes prohibit interstate banking and certain state

         laws prohibit     intrastate branches.         Since checks presented        to   a

         clearing bank for clearing can be considered a deposit,        these laws may

         prevent a clearing bank from picking up checks across state lines or

         outside its locale within a state.         Because the Federal Reserve is not

         subject to these limitations, the Coalition has charged that it has


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          unfair ccnpetitive advantage.           The Federal Reserve by crossing   state

          and local boundaries to pick up checks can allegedly provide the

          depositing bank with more processing time and lower transportation

          costs than correspondents.

               The Federal Reserve in response has argued that any advantage is

          marginal because correspondents can also provide              interstate and

          intrastate    pick-ups.      Reviews      of   state branch banking   laws and

          discussions with state banking supervisors suggest that in fact there

          is no explicit    legal    statement that picking up checks for processing

          constitutes branch banking,       and    little indication that this would be

          regarded as such.       Moreover, many correspondent banks participate in

          arrangements with their ovm service subsidiaries for the interstate and

          intrastate pick-ups of checks.           In any case, the Federal Reserve has

          endorsed legislation which would establish the legality of intrastate

          and interstate pick-ups of checks by correspondent banks for clearing.

               The Subccxrrnittee supports this legislative solution.




                           **   Automated Clearing House Subsidies **



               Automated Clearing House (ACH)             services are means of making

          transactions electronically, without paper checks, by debiting on a

          pre-authorized basis one account and crediting those funds to the

          account of another.       The types of transactions made through ACHs have

          typically been regular,      set-amount payments to or from consumers,     such

          as salaries, Social Security benefits, mortgage payments, and insurance

          patents.     The Federal Reserve played a pioneering role in cooperation

          with the banking       industry   in the development of      local    automated

          clearing houses in the early l97's, and in 1978 began operating a


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          nationwide   inter-regional   exchange using    its bulk data communications

         network.      When the Board in 1980 published its        fee schedules   for

         payment services in compliance with the Monetary Control Act,              it

         proposed to set fees for ACM services on the basis of expected         volume

          levels when potential use of such services had matured.           This meant

         that in the near future the System would be subsidizing ACM services

         since the fees were below current costs.           The Board justified such

         incentive pricing on the grounds that the ACH vas still developing and

         expanding, and incentive pricing was needed to attract business to this

         more efficient means of making transactions.          However,   in 1982, the

         Board in response to culaints that the large System subsidies for ACM

         services were preventing the development of private alternative

         services, decided to phase out      incentive pricing.    Fees for 1983 were

         set to recover 40% of the cost of providing ACH services, rising to 60%

         for 1984,   80% for 1985,   and 100% for 1986.

              The National Payments Systmn Coalition contended that the Federal

         Reserve's explicit     subsidy    for ACM services was unjustified and

         "virtually eliminates private competition" [Hearings, p. 28].           They

         disputed the Federal Reserve's contention that ACM services were a

         natural monopoly with increasing returns and declining costs        to scale

         of operation,   arguing that the service was too new and undeveloped to

         show conclusively whether returns to scale increased or decreased over

         the whole spectrum of operation levels.           To encourage the private

         inves t
               ment in ACM services that would be needed to establish the most

        efficient form of operation for ACM services, the Coalition        called for

        the immediate elimination of ACM subsidies by the Federal Boserve.

             In response, the Federal Reserve accepted the need to eliminate

        ACM subsidies in order to give private competitors the opportunity to



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          develop competing services, but defended its plan to phase out the

          subsidies over several years instead of eliminating then immediately.

          An immediate implementation of full cost recovery for ACH services,                it

          said, "could very well have caused many users of the ACM service to

          revert to paper checks"           [Hearings, p. 400], and thus set back the

          progress made in converting ACM users to this means of payments.

               The Subcommittee believes that the development of the ACH service

          represents     the    kind       of   improvements      in   the    efficiency   and

          inriovativeness      of    the   nation's     payment   system that     the Federal

          Reserve's presence has helped foster.           However,     it also believes that,

          after more than a dozen years of developnent, the ACH service should be

          ready to stand on its own without price subsidies, especially since the

          costs of alternative transaction methods such as paper checks are now

          fully reflected in the prices of those traditional payment mechanisms.

          Consequently, the Subccxrinittee agrees that the subsidy for ACM services

          should be eliminated in the phased-out way proposed by the Federal

          Reserve.    An immediate or more rapid end to those subsidies would be

          counter-productive, causing a reversion in business's and people's

          attitudes toward use of ACM systems for transactions that would impede

          their future development.




                                    **   Direct Send Settlanent        **




               At the hearings on June 15, 1983, Mr. D. Lee Falls of the Bank of

          America    submitted      a proposal     that    the    Federal     Reserve   provide

          settlement services to banks who cleared directly from bank to bank

          instead of through the Federal Reserve System.                     He said that this

          proposal was an extrapolation of an existing System "package-sort"


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         program in which the System transported and provided settlement for,

         but did not otherwise process,      packages of pre-sorted checks delivered

         to it.    The difference under direct-send settlement would he that the

         transportation of such packages would be done outside the Federal

         Reserve System instead of through it.           Presentment of the checks to the

         paying banks would meet the seine deadlines as Reserve Banks,                     the

         presentment and settlement times for the checks would be the same as if

         they had been processed through the System, and the Federal Reserve

         would    make   appropriate   rules      to    insure    equality     of   treatment.

         [Hearings, pp. 247-273]

              The Federal Reserve has studied this proposal and said that it is

         "very    intriguing"   [Hearinqs,     p.      319).     Since   the   hearing,   the

         California Bankers Clearing House Association has been refining the

         concept and collecting data to enable the Federal Reserve to evaluate a

         concrete and detailed proposal.       The Subcommittee believes that there

         is possible merit in the Bank of America proposal, and directs the

         Federal Reserve to report on its plans to adopt or its reasons for

         rejecting the proposal as soon as possible.




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                            FINDINGS WITH RX.RD ID C)NSIIIER ISSUES

               With two exceptions, the consuter takes for granted the operations

          of the nation's payments system.          The process by which cashed checks

          are returned to the consumer's bank and the designated                    funds

          transferred to the recipient's bank is critical to the widespread

          acceptance of checks as a rreans for making pa yments, but it is not one

          that consumers ordinarily think or care about.          However,    in t'so areas

          the pa yments system has impinged on consunsrs' consciousness:            delays

          in the availability of funds represented by checks deposited                  in

          accounts; and increases in fccc for checking accounts allegedly because

          of the imposition of explicit charges by the Federal Reserve for the

          clearing   of    checks.   Because   these     two   issues   are directly    or

          indirectly related to the pricing of Federal Reserve services, they are

          addressed in this Report.




                      **   Funds availability and the Payments System        **




               Over the past several years, complaints have increasingly been

          heard from consumers who deposited checks they had received in payment,

          but had been unable to access those funds for ten days, fifteen days,

          or even longer.     Such delays in funds availability are inconvenient

          even in the best of circumstances, and have caused embarrassing and

          costly account overdrafts to consumers who had not been informed of or

          were ignorant of their bank's policies on funds availability.               More

          generally, questions have been raised about why banks should place ten-

          day or two-week holds on deposited funds when the clearing time for

          most checks is one-to-two days.




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                The justification for delays in funds availability is the nd to

         ascertain whether the funds represented in a deposited check actually

         are available in the account against which it was written.     Check fraud

         and overdrafts are not uncommon,         and a bank that credits     such an

         unfunded or overdrawn check to the depositor's account will suffer the

         loss if those funds are withdrawn and the bank is not able to        recover

         then from its depositor.     Some delay in funds availability is therefore

         appropriate while the bank ascertains that the check will be honored by

         the payor bank.     The problem is that, while it takes on average one or

         two days for a check to be sent from the bank where it is deposited to

         the bank on which it is drawn, it may take much longer for a dishonored

         check to make its way back to the bank where it had been deposited.

         The former trip is      largely automated and thus rapid;      the   latter

         requires time-consuming hand processing through each bank and/or

         Federal Reserve facility that the check passed through on its initial

         journey to the payor bank.     A bank where a cheti is deposited can thus

         not be sure if the funds represented by that check are good until it

        allows sufficient time for a potentially bad check to be returned.

         Hover, this problem should be kept in perspective. 99% of all checks

        are paid the first time through the collection process.        Over 60% of

         the checks that are returned are for amounts of less than $100.00, and

        over one-half of these are paid when presented for pa yment the second

        time.     The remaining amounts are almost always recovered by charging

        the account of the depositor.

                The   Subcanittee believes   that there are three steps that can be

        taken to iirprove this situation.     First, banks should develop explicit

        and up-to-date policies for funds availability that are consistent with

        the actual amount of time it takes to determine whether a check is


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         good.    For checks written on banks within the same area, any delay in

         funds availability should be short;         for checks on more distant banks,

          longer delays may be appropriate.               For checks drawn   on    the U.S.

         goverment or on state governments, immediate credit should be granted.

          In any cas, these policies should be regularly reviewed and revised to

         reflect any improvements in the pa yments system.               If the banking

          industry does not develop such realistic policies, legislation may be

         tie..sSary.

                 Second,   banks    should    publicize     their   policies      on    funds

         availability and assure that their customers are aware of them.               In too

         many    cases,    banks   have   inadequately      informed   consumers       of   the

         circumstances in which funds would not be           immediately available.          An

         explicit statement of bank policies that all customers receive and all

         new customers be told about would correct many of the problems that

         have arisen because of delays               in   funds availability.          Again,

          legislation should be adopted if the banking industry fails to adopt

          such disclosure policies.

                Finally,   the Federal Reserve and the correspondent banks should

         develop ways to speed up the return processing of dishonored checks or

          information about such checks         so that banks can learn within days

          instead of weeks whether a deposited check is good or not.         The Federal

          Reserve Bank of Dallas has been conducting a pilot program to speed the

          return processing of dishonored checks by returning the check directly

          to the bank of first deposit and bypassing all the intervening banks

          that may have processed it.        The Federal Reserve has requested public

          c.iirrint on another proposal for informing the bank of first deposit by

          wire that a check        in excess of $2500 has not been honored.                 The

          Subcommittee believes      that the   lessons from these programs should be


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         applied nationally as soon as possible.          The Federal Reserve is

         directed to report to the Subcommittee on the progess of and prospects

         for its proposals to improve the processing of return items.




                              Increased Checking Account Fees
              **   and the Explicit Pricing of Federal Reserve Services      **




              A second consumer issue       linked with the explicit pricing of

         Federal Reserve check-clearing services has been the increases in

         checking account fees and charges that many banks have made.        In many

         cases, banks have justified these fee increases with the argument that

         the Federal Reserve is now charging or has increased charges for

         clearing checks, which the bank is simply passing onto the customer.

         Hearings held ty the Subcommittee on Financial Institutions Supervison,

         Regulation and Insurance on April 4, 1984, demonstrated that some

         depository institutions abused the check collection and clearing

         process to the detriment of their customers.

              Industry sources estimate that the average cost per check for the

         approximately 48 billion checks collected annually is on the order of

         240 for normal processing and 360 for returned checks.        These figures

         include bank costs   for    internal check processing,   losses on returned

         checks,   and   the costs   of   interbank processing,    whether   through

         correspondents, local clearinghouses, or the Federal Reserve System.

         The average cost of processing checks through the Federal Reserve

         System is approximately 39f per check and 14      for each returned item.

         This indicates that the costs of Federal Reserve clearing are but a

         fraction of the total cost of checks to a bank, and that any increacco

         in Federal Reserve charges for clearing do not justify substantial

         increases in checking account fees.


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               Indeed,   the changes brought about by the Monetary Control Act in

          many cases enhanced the opportunities for depository institutions to

          deliver checking services to their customers, at the same or even at

          lower cost.    By sharply lowering the non-income producing sterile

          reserve requirements that depository institutions were required to hold

          on deposit with the Federal Reserve, the MCA enabled member banks to

          increase their earnings through 1983 by more than $2.3 billion.     The

          imposition of reserve requirements on non-member institutions has

          reduced their earnings by about $858 million, leaving the banking

          system as a whole with a net gain of more than $1.5 billion.    Against

          these earnings are the $1 billion in explicit charges that financial

          institutions have paid through 1983 for services that formerly were

          provided by the Federal Reserve without any additional or explicit

          payment.   In other cords, financial institutions as a group have gained

          more from the Monetary Control Act's reduction in reserve requirements

          than they have lost because of the t1CA's explicit pricing of Federal

          Reserve services.

               The expectation was that, because improved bank earnings from

          lower reserve requirements would offset the increased costs of Federal

          Reserve payments services, the consumer would benefit from the Monetary

          Control Act by enhanced collection and clearing of payrrents at no real

          increase in costs.   That expectation does not in this instance appear

          to have been    fulfilled,   despite the net gains of the     financial

          institutions from -the MCA.    The charges imposed by banks on their

          customers for various services related to the payments system or

          excessive delays in funds availability therefore are not and cannot be

          justified by the explicit prices charged by the Federal Reserve for its

          payment services.


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                       FINDINGS WITH REGA RD TO PROSPECTIVE ISSUES:
         THE EUTURE OF THE PAYMENTS SYSTEM AND NEW ROLES FOR THE FEDERAL RESERVE




              Not long ago,      the Federal Reserve Bank of Atlanta devoted the

         entire August 1983,     issue of its Economic Reviaw to and held a two-day

         conference on     the   future of    the    payments   system and   the   coming

         displacement of the check (Federal Reserve Bank of Atlanta, Payments in

         the Financial Services Industry of the 1980s:          Conference Proceedings].

         While one may debate the timing and the order of magnitude that shifts

         in use of the paper check system will take, the nusber of options which

         are available for payments have increased and will likely continue to

         do so over the forseeable future.

              Most obvious are the growing number of automatic teller machines

         that have proliferated in banks throughout the country and are now

         beginning to appear       in grocery stores,     on street corners,       and at

         service stations.     Other innovations include the increase in the use of

         point of sale terminals, the increasing loss of distinction between

         credit and debit cards,    the growing use of automatic payments from and

         debits to individual accounts,      and the expansion in accounts supported

         by lines of credit based on a family's ownership of their hone,           stocks,

         bonds,   and other liquid or fixed assets.

              In short, access to and use of the payments system is being made

        easier and increasingly tied to the management of an individual's

        financial     resources.     One   need    Only Witness   the growth of      cash

        management accounts, money market funds, and the quest by         firms of all

        types to acquire depository institutions in order to obtain access to

        the payments system.




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               The role of the Federal Reserve in such a changing environment

          needs to be careful ly considered.         In light of the Federal Reserve's

          responsibilities as     lender   of   last resort and the historical reasons

          for its role in the payments syst em, any diminution of the Federal

          Reserve's role in the transfer of financial assets from one party to

          another needs to be examined with the view of understanding the risks

          which the society undertakes when such a change is initiated.        On the

          other hand,   the   instantaneous      settlement capacity which coded

          electronic systems     offer can so substantially diminish certain risks

          that one of the reasons for the Federal Reserve substantial role might

          well be mitigated.     Such instantaneous transfers are, however, a mixed

          blessing because their ability to convert relatively fixed assets into

          transaction balances possess a potential to substantially increase the

          difficulties of conducting monetary policy.

               Earlier in the report, the Subcommittee noted that its interest in

          the issues and controversies surrounding the Federal Reserve's role in

          the check clearing and collection system arose in the course of its

          regular examinations of the conduct of monetary policy and the role

          which depository institutions perform as a conduit for the actions and

          policies of the central bank.          Among the ways that payments system

          questions affect monetary policy are the following: the impact on the

          conduct of monetary policy by non-depository institutions which        issue

          transaction accounts; the ability to instantly convert real estate,

          stocks, bonds, and other assets into funds capable of commanding goods

          and services; and the role of credit cards that allow transactions to

          be bunched for a single payment at the end of a month.             It would

          appear,   therefore,    that the Subcommittee would be remiss in        its

          examination of the payments system if it did not suggest what the


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         future role of the Federal Reserve ought to he in this changing era.

              If the Federal      Reserve is to maintain a role           in any future

         character of the payments system,          that role should be premised on the

         reasons for its current role:       the safety and soundness of the payments

         process,   and the effective conduct of monetary policy.          The following

         are ways that future role may be manifested.




                                     **     Switch Manager    **




              According to a study by the Federal Reserve Bank of Atlanta ['Thy

         People Write Checks", Economic Review, August 1983], people write

         checks for four reasons:

                     1.   to acquire cash;
                     2.   make retail purchases;
                     3.   pay bills; and
                     4.   pay other individuals.

              With the exception of occasional payments to individuals who

         probably would not possess access to an electronic funds network, most

         transfers    contemplated    in     the    first   three   categories   could    be

         undertaken by some paperless means.          At present, most of the paperless

         information exchange intermediaries are local electronic networks

         composed of any number of terminals that are interconnected through a

         central switching device.        While efforts are being made to increase the

         corrpatability of various local networks, mach work remains to he done

         in this area.     One role which the Federal Reserve ought to consider is

         that of intermediary between differing exchanges that have differing

         time and settl ement policies.       Such an undertaking has the potential of

         assuring access by all depository instititions to a national                    EFT

         network and, more importantly,       that interbank settlements are properly




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          and timely made.     To the extent that electronic networks become the

          major source of payments,     the Federal F
                                                    L-serve's role would also assure

          it of timely information and capacity to influence monetary policy.

          This role will become especially crucial if additional institutions are

          given access to the payments system.       Accordingly,     the Federal Reserve

          should report to the Subcatsnittee on Domestic Monetary Policy at the

          earliest possible time on the impact that increases in the use of EFT

          networks will have on its capacity to monitor the use of money and

          credit   and   its conduct of monetary policy,         with a view towards

          establishing a national EFT settlement standard.




                              **   Debit/Credit Card Processing



               To the extent that more transactions take place with the use of

          debit/credit cards that may generate an actual transfer of payment from

          one party to another, irrespective of credit considerations by the

          transferee,    there would appear to be no reason for the Federal Reserve

          to forego entry into this undertaking.          While the Federal       Reserve

          should not enter this field without some clearly defined goals of

          assuring payments, monitoring money and credit policies, or setting

          settlement standards,      it would not appear that there are any inherent

          reasons   the    Federal    Reserve    should   fail   to    consider   entry.

          Accordingly,     the Federal Reserve should examine and report to the

          Subcarmittee on Domestic Monetary Policy at the earliest possible time

          on the efficacy of such an undertaking.




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         **    Access to the payments Systan for Non-Depository Institutions         **




               Among the reasons that depository institutions are special is

        their unique capability to access directly the national payments system

        and so to guarantee that payments are made from one party to another.

        No    other type of     institution      has that capacity.         Depository

        institutions, however, also have other functions such as serving as

        sources of goverrunt insurance for         investors.   Recently,    there have

        been pro     forms   depository   institutions    created   by   nonfinancial

        businesses for the primary purpose of gaining access to the payments

        system.      The possible proliferation of such pro forms depository

        institutions that are intended to facilitate payments but also have all

        the other potential powers and functions of a depository institution

        has serious implications for the blurring of distinctions between

        cctmrce and finance.      To meet the desire of nonfinancial        institutions

        to access the payments system without compromising the distinctions

        between banking and commerce,     the Federal   Reserve should consider the

        developnent of specialized entities that nonfinancial businesses can

        create to access the payments system but that are otherwise strictly

        limited in their powers and in their risk.         The Federal Reserve is,

        therefore,    requested to study and report at the earliest possible time

        on the various       practical   and policy considerations that such an

        undertaking would present.




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                                              CONCLUSIONS



                   For the foreseeable future,   the checking account will continue to

           be     the backbone   of   the   system    used   by   American   businesses   and

           individuals     to make payments      to one      another.    With the   Federal

           Reserve's participation,     the payments system of the United States has

           become one of the most secure, most efficient,           and least expensive in

           the wnrld.    This report concludes that the Federal Reserve's continued

           participation is essential, first to the maintenance of safety and

           soundness, and then to further improvements that will enhance the

           payments machani an and the developtent of new and innovative fonts of

           payments that Americans might use.           It believes that this role was

           envisioned by the the Congress when it adopted the Monetary Control

           Act,    and the implementation of explicit pricing for payments services

           by the Federal Reserve has been consistent with that objective.

                  Private sector c.-ttition will continue to be useful in assuring

           continued efficiency and          low-cost   of   our   payments   system.     The

           Subcommittee recognizes          that there may have been some temporary

           inequities    in terms of competition during            the Federal    Reserve's

           implementation of pricing for its services, but that these were the

           inevitable and acceptable costs of maintaining a Federal Reserve role

           in the payments system during the transition.           It believes that a basis

           for fair competition has been provided by present arrangements for

          calculation of Federal Reserve prices, and that these arrangements

          should continue, provided there is fair cost-allocation and calculation

           of the Private Sector Adjustment Factor by the Federal Reserve.                As

           long as neither the Federal Reserve nor the private sector dominate

           check-clearing,   an efficient and equitable payments system will exist.




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        The Subcommittee will continue to monitor the Federal Reserve's pricing

        policies and practices to assure that retain fair and reasonable.

             Individual depository institutions should become L..Juisent of the

        opportunities which competition offers them in check collection and

        clearing.     Using   both private      sector   and Federal     Reserve check

        collection and clearing options, depository institutions should be able

        to offer both faster and        less expensive opportunities for their

        customers.     Unfortunately,   excessive charges and delays on funds

        availability,    especially when unjustly blamed on the Federal Reserve,

        tend to bring into question the wisdom of the decision to encourage

        competition and very likely discourage further movement of that nature

        in the future.     These matters will continue to occupy the interest of

        the various Subcommittees as they seek to provide guidance on the

        future role which the Federal Reserve should have in the national

        payments system.

             Finally, the Subcommittee concludes that the Federal Reserve

        should continue to play a role in the payments system as it evolves

        toward increased use of electronic transactions and away from paper

        checks.     Therefore,   the Federal     Reserve     should     report   to the

        subcommittee on Domestic Monetary Policy at the earliest possIble time

        on the following issues:     (1) the impact that increases in the use of

        EFT networks will have on its capacity to monitor the use of money and

        credit and    its conduct of monetary       policy,    with     a view towards

        establishing a national EFT settlement standard;          (2)   the efficacy of

        processing of credit/debit card paylents         by the Federal Reserve;    and

        (3) the practical and policy considerations involved in the creation of

        specialized payments-services entities that can be utilized by non-

        depository institutions to access the Federal Reserve's payment system.


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                     LISTINGS OF RESERVE BANKS,   BRANCHES AND IPC


       BOSTON:              Frank E. Morris, President
                            Robert W. Elsennienger, First Vice President
                            600 Atlantic Avenue
                            Boston, Massachusetts    02106
                            (617-973-3000)

       NEW YORK:            Anthony N. Solomon, President
                            Thomas M. 'rimlen, First Vice President
                            33 Liberty Street
                            (Federal Reserve P.O. Station)
                            New York, New York    10045
                            (212-791-5000)

            Buffalo Branch:        John T. Keane, Vice President and Branch
                                     Manager
                                   160 Delaware Avenue
                                   Buffalo, New York   14202
                                   (716-849-5000)

       PHILADELPHIA;        Edward G. Boehne, President
                            Richard L. Smoot, First Vice President
                            Ten Independence Mall
                            Philadelphia, Pennsylvania   19106
                            (215-574-6000)

       CLEVELAND:           Karen N. Horn, President
                            William H. Hendricks, First Vice President
                            1455 East Sixth Street
                            Cleveland, Ohio   44101
                            (216-579-2000)

                  Cincinnati Branch:     Charles A. Cerino, Senior Vice
                                           President and Branch Manager
                                         150 East Fourth Street
                                         Cincinnatti, Ohio   45201
                                         (513-721-4787)

                  Pittsburgh Branch:     Harold J. Swart, Senior Vice
                                           President and Branch Manager
                                         717 Grant Street
                                         Pittsburgh, Pennsylvania   15203
                                         (412-261-7800)

      RICHMOND:            Robert P. Black, President
                           Jimmie R. Monho1lon, First Vice President
                           701 East Byrd Street
                           Richmond, Virginia   23219
                           (804-643-1250)
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                     Baltimore Branch:        Robert D. McTeer, Jr., Senior
                                                Vice President and Branch Manager
                                              503 South Sharp Street
                                              Baltimore, Maryland    21201
                                              (301-576-3300)

                     Charlotte   Branch:     Albert D. Tinkelenberg, Senior
                                               Vice President and Branch Manager
                                             401 South Tryon Street
                                             Charlotte, North Carolina   28230
                                             (704-373-0200)

          ATLANTA:               Robert P. Forrestal, President
                                 Jack Guynn, First Vice President
                                 104 Marietta Street, N.W.
                                 Atlanta, Georgia    30303
                                 (404-521-8500)

                     Birminqham Branch:      Fred P. Herr, Vice President and
                                               Branch Manager
                                             1801 Fifth Avenue, North
                                             Birmingham, Alabama   35202
                                             (205-252-3141)

                     Jacksonville Branch:     James D. Hawkins, Vice President
                                                and Branch Manager
                                              515 Julia Street
                                              Jacksonville, Florida   32231
                                              (904-632-4400)

                     Miami   Branch:         Patrick K. Barron, Vice President
                                               and Branch Manager
                                             9100 Northwest 36th Street
                                             Miami, Florida   33178
                                             (305-5 91-206 5)

                     Nashville   Branch:     Jeffrey J. Wells, Vice President
                                               and Branch Manager
                                             301 Eighth Avenue, North
                                             Nashville, Tennessee   37203
                                             (615-259-4006)

                     New Orleans Branch:     Henry H. Bourgaux, Jr., Vice
                                               President and Branch Manager
                                             525 St Charles Avenàe
                                             New Orleans, Louisiana   70161
                                             (504-586-1505)
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        CHICAGO:             Silas Keehn, President
                             Daniel M. Doyle, First Vice President
                             230 South LaSalle Street
                             Chicago, Illinois   60690
                             (312-322-5322)

                   Detroit Branch:        Roby L. Sloan, Senior Vice President
                                            and Branch Manager
                                          160 Fort Street, West
                                          Detroit, Michigan    48231
                                          (313-961-6880)

        SP.   LOUIS:         Theodore H. Roberts,   President
                             Joseph P. Garbarini,   First Vice President
                             411 Locust Street
                             St. Louis, Missouri     63102
                             (314-444-8444)

                   Little Rock Branch:    John P. Breen, Vice President and
                                            Branch Manager
                                          325 West Capitol Avenue
                                          Little Rock, Arkansas   72203
                                          (501-372-5431)

                   Louisville Branch:     James E. Conrad, Vice President
                                            and Branch Manager
                                          410 South Fifth Street
                                          Louisville, Kentucky   40201
                                          (502-568-9200)

                   Memphis Branch:       Paul I. Black, Jr. Vice President and
                                           Branch Manager
                                         200 North Main Street
                                         Memphis, Tennessee    38103
                                         (901-523-7171)

        MINNEAPOLIS:         E. Gerald Corrigan, President
                             Thomas B. Gainor, First Vice President
                             250 Marquette Avenue
                             Minneapolis, Minnesota   55480
                             (612-340-2345)

                   Helena Branch:        Robert F. MeNellis, Vice President
                                           and Branch Manager
                                         400 North Park Avenue
                                         Helena, Montana   59601
                                         (406-442-3860)
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          KANSAS CITY:          Roger Guffey, President
                                Henry R. Czerwinski, First Vice President
                                925 Grand Avenue
                                Kansas City, Missouri   64198
                                (816-881-2000)

                    Denver Branch:            Wayne Martin, Senior Vice President
                                                and Branch Manager
                                              1020 16th Street
                                              Denver, Colorado   80202
                                              (303-534-5500)

                    Oklahoma   City Branch:   William G. Evans, Vice President
                                                and Branch Manager
                                              226 Dean A. McGee Avenue
                                              Oklahoma City, Oklahoma   73125
                                              (405-235-1721)

                    Omaha Branch:             Robert D. Hamilton, Vice President
                                                and Branch Manager
                                              1701 Dodge Street
                                              Omaha, Nebraska   68102
                                              (402-341-3610)

          DALLAS:               Robert H. Boykin, President
                                William H. Wallace, First Vice President
                                400 South Akard Street
                                Dallas, Texas    75222
                                (214-651-6111)

                    El   Paso Branch:         Joel L. Koonce, Jr., Vice President
                                                and Branch Manager
                                              301 East Main Street
                                              El Paso, Texas   79999
                                              (915-544-4730)

                    Houston Branch:           J. Z. Rowe, Senior Vice President
                                                and Branch Manager
                                              1701 San Jacinto Street
                                              Houston, Texas   77002
                                              (713-65 9-443 3)

                    San Antonio Branch:       Thomas H. Robertson, Vice President
                                                and Branch Manager
                                              126 East Nueva Street
                                              San Antonio, Texas    78204
                                              (512-224-2141)
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      SAN FRANCISCO:         John J. Balles, President
                             Richard T. Griffith, First Vice President
                             101 Market Street
                             San Francisco, California   94105
                             (415-974-2000)

                 Los Angeles Branch:       Richard C. Dunn, Senior Vice
                                             President and Branch Manager
                                           409 East Olympic Boulevard
                                           Los Angeles, California   90015
                                           (213-683-8323)

                 Portland Branch:          Angelo S. Carella, Vice President
                                             and Branch Manager
                                           915 S.W. Stark Street
                                           Portland, Oregon   97025
                                           (503-221-5900)

                 Salt Lake City Branch:     Grant A. Holman, Senior Vice
                                              President and Branch Manager
                                           120 South State Street
                                           Salt Lake City, Utah   84111
                                           (801-322-7900)

                 Seattle Branch:           Gerald R. Kelly, Senior Vice
                                             President and Branch Manager
                                           1015 Second Avenue
                                           Seattle, Washington   98104
                                           (206-442-1376)



      Regional   Check Processing Centers

                 Charleston,   W. Va.      Richard L. Hopkins, Vice President
                                           Federal Reserve Bank of Richmond

                 Cranford,   N.J.          Fred A. Denesevich, Regional Manager
                                           Federal Reserve Bank of New York

                 Columbia,   S.C.          Boyd Z. Eubanks, Vice President
                                           Federal Reserve Bank of Richmond

                 Columbus,   Ohio          Charles F. Williams, Vice President
                                           Federal Reserve Bank of Cleveland

                 Des Moines,   Iowa        Allen R. Jensen, Operations Officer
                                           Federal Reserve Bank of Chicago

                 Indianapolis,      Ind.   Russell 0. Langan, Assistant Vice
                                             President
                                           Federl Reserve Bank of Chicago
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           Jericho,    N.Y.                Anthony N.       Sagliano,       Regional Manager
                                           Federal       Reserve    Bank of    New York

           Lewiston,    Maine              James    S.    Phalen,    Vice    President
                                           Federal       Reserve    Bank of    Boston

           Milwaukee,       Wis.           Thomas    Q.    Ciesielski,       Assistant
                                             Vice    President
                                           Federal       Reserve    Bank of    Chicago

           Utica,    N.Y.                  Harry A.       Curth,    Jr.,    Regional    Manager
                                           Federal       Reserve    Bank of    New York

           Windsor    Locks,       Conn.   James   S.     Phalen,    Vice   President
                                           Federal       Reserve    Bank of    Boston
